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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIANNA BOE, et al.,                 }
                                     }
       Plaintiffs,                   }
                                     }
and                                  }
                                     }
UNITED STATES OF AMERICA,            }   Case No. 2:22-CV-184-LCB
                                     }
       Plaintiff-Intervenor,         }
                                     }
v.                                   }
                                     }
STEVE MARSHALL, et al.,              }
                                     }
       Defendants.                   }




       RESPONDENTS MELODY H. EAGAN AND JEFFREY P. DOSS’S
              RESPONSE TO ORDER TO SHOW CAUSE




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      Respondents Melody H. Eagan and Jeffrey P. Doss1 submit this response to the

Court’s Order to Show Cause and Supplemental Orders to Show Cause (Docs. 406,

483 & 484) (collectively, “the Order”).

      When a court charges an attorney with misconduct, a clear, ascertainable rule

that the attorney has allegedly violated must be identified. It is “unfair for the court

to use the case [in which the sanction is imposed] as the first step in adopting a new

rule.” United States v. 789 Cases of Latex Surgeon Gloves, 13 F.3d 12, 15 (1st Cir.

1993). Ms. Eagan and Mr. Doss did not violate a clear, ascertainable rule. Before the

dismissal of Ladinsky, et al. v. Ivey, et al. (“Ladinsky”) and the filing of Eknes-Tucker,

et al. v. Ivey, et al. (“Eknes-Tucker”), no rule, statute, case, or order prohibited them

from dismissing Ladinsky in the Northern District and filing Eknes-Tucker in the

Middle District—regardless of the reasons for doing so. This Court recently agreed,

“So, I mean, I get it that different circuits have different opinions on [judge shopping].

And I get it that the Eleventh Circuit doesn’t have clear guidance on [judge

shopping].”   (Mar. 19, 2024, Hearing at 60-61).         Unlike the concept of “judge

shopping,” the Eleventh Circuit has provided clear guidance regarding voluntary

dismissals: Federal Rule of Civil Procedure 41 dismissals are “absolute” and

“unconditional,” which necessarily means that the dismissal can be for any reason.

Applying the relevant standards to the evidence—clear and convincing proof and

subjective bad faith—only one conclusion is possible: Ms. Eagan and Mr. Doss



1    Throughout this Brief, Melody Eagan and Jeffrey Doss are referred to as Ms.
Eagan and Mr. Doss or otherwise as “Respondents.”
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violated no clear, ascertainable rule when they dismissed Ladinsky and filed Eknes-

Tucker.

       Ms. Eagan and Mr. Doss were truthful and straightforward with the panel.

Despite being sequestered, Ms. Eagan’s and Mr. Doss’s testimony aligned in every

material respect with every other participant’s testimony. Between the two of them,

they testified for several hours before the panel, submitted sworn declarations, and

answered the questions posed to them truthfully and candidly. Neither the panel nor

this Court has identified a question asked of Ms. Eagan or Mr. Doss that either failed

to answer honestly and completely. Nor have they identified a passage in their

declarations that contained an alleged falsity. There is no evidence—much less clear

and convincing proof—of any bad faith misrepresentation or omission by Ms. Eagan

or Mr. Doss.

                        THE UNDERLYING LITIGATION

I.     Respondents filed Ladinsky in the Northern District and, with each
       random assignment of judges, took no action.

       Governor Ivey signed into law the Alabama Vulnerable Child Compassion and

Protection Act (“the Act”) on Friday, April 8, 2022. That evening, Respondents

electronically filed the complaint in Ladinsky, et al. v. Ivey, et al., Case No. 2:22-CV-

447 (“Ladinsky”) in the Northern District. They did not mark the case as being

related to any other case. They did not take any action to obtain or to avoid any judge.

They expected to receive a randomly assigned judge.

       The attorneys for Ladinsky were aware that other organizations were planning

to challenge the Act’s legality. They understood that the first-filed action would



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generally receive precedence under the various rules recognized throughout the

Eleventh Circuit.      For the attorneys associated with Ladinsky, it was very

important—and in the best interests of their clients—to ensure that Ladinsky was

the first-filed challenge to the Act.

       On the morning of Monday, April 11, the Northern District Clerk’s Office

electronically docketed the Ladinsky complaint.      The complaint was deemed as

having been filed on Friday, April 8. At some point during that day, Respondents

learned that another case—styled Walker, et al. v. Marshall, et al., Case No. 2:22-CV-

167—had been filed by other attorneys in the Middle District (“Walker”). Because

Ladinsky had been docketed first, Respondents felt confident that Ladinsky would

take precedence over Walker.

       The Clerk’s Office randomly assigned Judge Manasco to Ladinsky.

Respondents did not take any action in response to the random assignment of the

case to Judge Manasco.        Later that day—still Monday, April 11, 2022—Judge

Manasco entered an order of recusal, and the Clerk’s Office randomly reassigned

Ladinsky to Magistrate Judge Cornelius.        Respondents did not take action in

response to the random assignment of the case to Magistrate Judge Cornelius.

       The attorneys in Ladinsky were finalizing an amended complaint and a motion

for a preliminary injunction. The original Ladinsky complaint did not include certain

claims, such as alleging that the Act violates the First Amendment or that the Act

has the effect of criminalizing a parent’s travel from Alabama to another state to

obtain the proscribed treatments for the parent’s child. Because neither the amended




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complaint nor the motion for a preliminary injunction was complete, Respondents

deferred serving the defendants in Ladinsky. They did this to avoid having to serve

the defendants twice.

        By Wednesday, April 13, two attorneys for the State of Alabama appeared for

Governor Ivey and Attorney General Marshall in Ladinsky.              The next day—

Thursday, April 14—the Clerk’s Office randomly reassigned Ladinsky to Judge Axon.

Respondents assumed that the case was reassigned because the defendants in

Ladinsky declined consent to dispositive jurisdiction by Magistrate Judge Cornelius.

Respondents did not decline consent and did not take any action in response to the

random reassignment of the case to Judge Axon.

II.     Seven days after filing Ladinsky and before any substantive decisions
        were made in the case, Ladinsky was voluntarily dismissed pursuant
        to Rule 41.

        The following day—Friday, April 15—Respondents learned that Walker had

been transferred to the Northern District by Chief Judge Marks, following the entry

of a show cause order, and assigned to Your Honor.2 Consistent with settled Northern

District practice, Respondents expected Walker to be consolidated with Ladinsky,

such that (i) any decision regarding consolidation would be decided by Judge Axon,

as the judge to whom the first-filed case was assigned; (ii) if a motion to consolidate

were granted, then Walker would be reassigned to Judge Axon; and (iii) if Ladinsky

and Walker were consolidated, then Ladinsky would be the lead case, as the first-filed



2     Throughout     this   brief,   “this   Court”   and   “Your   Honor”   are   used
interchangeably.



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case between the two. Respondents were familiar with that practice in the Northern

District and understood the practice as intended to protect random judicial

assignments, and various decisions have described it that way. See, e.g., Forrester v.

MidFirst Bank, No. 18-1392, 2019 WL 13217066, at *2 (N.D. Ala. Feb. 8, 2019).

      The attorneys for the State apparently had the same understanding. The

State’s attorneys said that they intended to file a motion to consolidate with Judge

Axon, not this Court to whom Walker had been assigned, and Respondents consented.

Before the attorneys for the State filed their consent motion to consolidate, however,

Judge Axon entered an order around 4:40 p.m. on Friday, April 15: “In the interest of

efficiency and judicial economy, this case is hereby transferred to Judge Liles C.

Burke” (“the Transfer Order”). After the Transfer Order was entered, the attorneys

for the State told Respondents that they no longer planned to file a motion to

consolidate.

      The Transfer Order was surprising. No one—neither Respondents, co-counsel

in Ladinsky, nor counsel for the State—expected Ladinsky to be reassigned. To

Respondents, Ladinsky was no longer randomly assigned. The case had been directly

assigned by one judge to another, outside the random assignment procedure for the

Northern District. Respondents knew only that the standard procedure did not

appear to have been followed. The reason for the Transfer Order—“efficiency and

judicial economy”—was not clear to them. This Court had been assigned Walker for

less than one day and, thirty minutes or so before the Transfer Order was entered,

had set a status conference in Walker. Moreover, the Transfer Order came at the end




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of the business day on Good Friday, and there was no effective way to get additional

information about it. Respondents were not sure whether or how any reconsideration

of the Transfer Order could be made and hoped to avoid raising an awkward issue.

      Less than 30 minutes after the Transfer Order was entered, several attorneys

in Ladinsky, including Respondents, participated in a conference call at around 5:00

p.m. on Friday, April 15. Respondents did not understand why the Transfer Order

had been entered, considering the standard procedure in the Northern District. The

group shared concerns that Walker, and not Ladinsky, was set for a status conference

on the following Monday. It appeared that Walker was inching ahead of Ladinsky in

terms of precedence.     Given the unusual posture in which Respondents found

themselves—including that they no longer had, from their perspective, a randomly-

assigned judge—they considered the circumstances as a whole as best they could,

including: (i) the way Ladinsky had reached this Court; (ii) the appearance that

Walker was inching ahead of Ladinsky; (iii) possibly litigating in Huntsville as

opposed to Birmingham; and (iv) their perceptions of Your Honor’s philosophical

receptiveness to the Ladinsky plaintiffs’ claims.3




3      Regarding this final factor, for constitutional challenges, there are divergent
views among federal judges regarding how the Constitution should be interpreted,
especially when it concerns the Due Process Clause and the Equal Protection Clause.
Some judges, for example, adhere to an “originalist” interpretation, which heightens
a plaintiff’s burden when presenting challenges based on those two Clauses. As Judge
Proctor observed during a panel hearing, “District judges get hired on politics.
Magistrate judges get hired on merits.” (May 20, 2022, Trans. at 33).



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      A consensus was reached to voluntarily dismiss, as no defendant had yet filed

an answer or motion for summary judgment, and regroup. Neither Respondents nor

anyone else on the call expressed a concern that this course of action could violate

any statute, case, order, or rule. Respondents were not aware of any impediment to

dismissal pursuant to Federal Rule of Civil Procedure 41. Respondents did not believe

that voluntarily dismissing—even considering, among a number factors, the judge’s

identity—would violate any statute, case, order, or rule.

      With their clients’ consent, Respondents voluntarily dismissed Ladinsky at

around 6:00 p.m. on Friday, April 15. Respondents believed the voluntary dismissal

needed to be filed quickly. Otherwise, if the State answered the complaint,

Respondents would lose that absolute and unconditional right. Ladinsky was one-

week old when it was dismissed. No motion for preliminary injunction or amended

complaint had been filed. And no substantive decisions affecting the litigation had

been made by the Court.

      Meanwhile, the attorneys in Walker voluntarily dismissed their case, too. On

Friday evening and through the weekend, some attorneys in Ladinsky had

conversations with some attorneys in Walker about whether and how to file a single,

consolidated lawsuit challenging the Act, so that the clunkiness of two competing

lawsuits—and the prior week’s procedural “racing”—could be avoided. Respondents

did not participate in those calls. Ultimately, the Walker attorneys decided not to

pursue a challenge to the Act.




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III.     Two business days after voluntarily dismissing Ladinsky, Eknes-
         Tucker was filed in the Middle District.

         The attorneys for Ladinsky considered what steps to take next. Although

Respondents briefly considered filing a new lawsuit with one or more plaintiffs from

Ladinsky, they ultimately decided not to do so. Various attorneys in Ladinsky worked

over the weekend and into the first day or so of the following week to finalize new

plaintiffs to challenge the Act. Other attorneys revised the pleadings to reflect the

new plaintiffs and to finalize a motion for a preliminary injunction (a process which

had been ongoing since the week prior).

         By Monday, April 18, a new set of plaintiffs had been assembled to challenge

the Act’s legality.    In addition to the challenges pleaded in Ladinsky, the new

plaintiffs could also make First Amendment arguments and test the Act’s

criminalization of a parent’s decision to transport a minor across state lines to secure

otherwise-lawful treatment.      As to venue, Respondents considered all pertinent

factors, including whether the new action might be non-randomly assigned to Your

Honor as “related” to Ladinsky if filed in the Northern District.

         The decision was made to start fresh. On Tuesday, April 19, Respondents sent

a courier to Montgomery to conventionally file the new complaint, which opened a

new case, Eknes-Tucker, et al. v. Ivey, et al., Case No. 2:22-CV-184 (“Eknes-Tucker”),

in the Middle District. Respondents did not designate the case as related to any other

case. They did nothing to steer Eknes-Tucker to any judge.

         The Clerk’s Office for the Middle District electronically docketed Eknes-Tucker

at around 6:00 p.m. on Wednesday, April 20. It was randomly assigned to Judge



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Huffaker, and Judge Huffaker assigned the case to this Court. Respondents did not

take any action in response to the assignment of Eknes-Tucker to Judge Huffaker or

his assignment of the case to this Court.

      After Eknes-Tucker had been docketed, Respondents finalized the motion for a

preliminary injunction, and they electronically filed the motion early in the morning

of Thursday, April 21.    Later that day, Respondents personally served the new

complaint on all but one of the defendants, along with the motion for a preliminary

injunction, and Respondents began preparing for a status conference before this

Court. During that same day—Thursday, April 21—an attorney in Eknes-Tucker

discovered, on a media website, an order entered by Your Honor in Walker. The order,

which had been entered on Monday, April 18, suggested that the attorneys for Walker

and possibly Ladinsky had engaged in “judge shopping.” Respondents did not know

anything about that order before filing Eknes-Tucker.

      Respondents appeared for the status conference on Friday, April 22. Ms.

Eagan offered at that time to explain why Ladinsky was dismissed, but the Court did

not accept her offer. Over the next several weeks, counsel in Eknes-Tucker and the

State briefed the motion for preliminary injunction and then attended a multi-day

preliminary injunction hearing.

                                  *    *        *   *

      Respondents respectfully submit that they did not take any action to

manipulate the random assignment of judges in the Northern District or the Middle

District. When Respondents believed that they had a randomly assigned judge—




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Judge Manasco, Magistrate Judge Cornelius, Judge Axon, and Judge Huffaker—they

did not do anything in response. They dismissed Ladinsky based on a good-faith

belief that Rule 41 gave them that absolute and unconditional right to do so, and they

filed Eknes-Tucker based on a good faith belief that the Middle District was a proper

venue. Respondents never thought that they were violating any case, statute, order,

or rule.

                                    FRAMEWORK

       The panel gathered evidence during its inquiry. That was its charge, and Ms.

Eagan, Mr. Doss, and others responded to the panel’s questions.4 Ms. Eagan and Mr.

Doss are now submitting additional evidence for this Court’s consideration of whether

to sanction them for their conduct. Critical to this Court’s decision is framing how to

evaluate the universe of evidence.        Because potential sanctions are at issue,

fundamental and overarching legal principles must guide the analysis.

       The legal principles which control this Court’s sanctions decision include the

following:

       (1)   This Court’s “inherent power should be exercised with caution.”

       Kornhauser v. Comm’r of Social Sec., 685 F.3d 1254, 1257 (11th Cir. 2012)

       (citing Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991)). “A court may

       exercise this power ‘to sanction the willful disobedience of a court order, and to

       sanction a party who has acted in bad faith, vexatiously, wantonly, or for




4     Respondents have joined (Doc. 497) in an objection to the Supplemental Orders
to Show Cause. (Doc. 493). This briefing is without prejudice to that objection.

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  oppressive reasons.’” Purchasing Power, LLC v. Bluestem Brands, Inc., 851

  F.3d 1218, 1223 (11th Cir. 2017) (quoting Marx v. Gen. Revenue Corp., 133 S.

  Ct. 1166, 1175 (2013)).

  (2)   Subjective “bad faith” is a demanding standard. For example,

  subjective “bad faith” is not merely acting based on an unreasonable belief.

  See, e.g., Rowe v. Gary, 773 Fed. App’x 500, 504 (11th Cir. 2019) (“A person

  may hold an unreasonable belief in good faith.”). Nor is subjective “bad faith”

  “simply bad judgment,” “negligence,” or even “simple recklessness.” United

  States v. Shaygan, 652 F.3d 1297, 1312 (11th Cir. 2011); J.C. Penney Corp.,

  Inc. v. Oxford Mall, LLC, No. 19-560, 2021 WL 3421394, at *2 (N.D. Ala. Aug.

  5, 2021) (quoting Purchasing Power, LLC, 851 F.3d at 1224). Even “false

  statements alone” do not “indicate bad faith.” Byrne v. Nezhat, 261 F.3d 1075,

  1125 (11th Cir. 2001).

        Rather, “bad faith” requires “the conscious doing of a wrong because of

  dishonest purpose or moral obliquity; … it contemplates a state of mind

  affirmatively operating with furtive design or ill will.’” Fletcher v. Ben Crump

  Law, PLLC, No. 21-1433, 2023 WL 3095571, at *4 (N.D. Ala. Apr. 26, 2023)

  (quoting United States v. Gilbert, 198 F.3d 1293, 1299 (11th Cir. 1999)).

  (3)   The “clear and convincing evidence” standard governs whether

  to impose inherent power sanctions. See, e.g., Fletcher, No. 21-1433, 2023

  WL 3095571, at *5 (applying “clear and convincing” evidence standard); J.C.

  Penney Corp., Inc. v. Oxford Mall, LLC, No. 19-560, 2022 WL 2374369, at *3




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  (N.D. Ala. June 30, 2022) (applying “clear and convincing” evidence standard);

  Peer v. Liberty Life Assurance Co. of Boston, No. 17-80281, 2022 WL 329217,

  at *4 (S.D. Fla. Jan. 18, 2022) (“The burden of proof for imposing fees as a

  sanction under the Court’s inherent authority … is clear and convincing

  evidence.”); Tarasewicz v. Royal Caribbean Cruises Ltd., No. 14-60885, 2016

  WL 3944178, at *2 (S.D. Fla. Mar. 17, 2016) (“[W]hen imposing sanctions

  pursuant to their inherent authority, courts require that the conduct or fraud

  be proven by clear and convincing evidence.”); Outlawlessness Prods., Inc. v.

  Paul, No. 10-24, 2011 WL 13177704, at *1 (M.D. Fla. Mar. 15, 2011) (“The

  party seeking sanctions must show such alleged misconduct was committed in

  ‘bad faith’ by clear and convincing evidence.”).

        Generally speaking, “clear and convincing” evidence means “the

  evidence must persuade [the trier of fact] that the claim or defense is highly

  probable or reasonably certain.” Eleventh Circuit Pattern Jury Instructions –

  Civil 1.2 (“Burden of Proof – Clear and Convincing Evidence”) (emphasis

  added). “Quantified, the probabilities [of clear and convincing evidence] might

  be in the order of above 70%.” Boatright v. CSX Transp., Inc., No. 21-28, 2023

  WL 4548280, at *14 (S.D. Ga. July 14, 2023); see also Mezrano v. State Farm

  Fire & Cas. Co., No. 22-313, 2022 WL 1493850, at *2 (N.D. Ala. May 11, 2022)

  (quoting Black’s Law Dictionary (2014)) (“Clear and convincing” evidence

  means “‘[e]vidence indicating that the thing to be proved is highly probable or

  reasonably certain’ and is ‘a greater burden than preponderance of the




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  evidence … but less than evidence beyond a reasonable doubt.’”); Snell v.

  Southern-Owners Ins. Co., No. 15-368, 2016 WL 9526679, at *4 (M.D. Fla. July

  18, 2016) (“‘Clear and convincing evidence’ is evidence that is precise, explicit,

  lacking in confusion, and of such weight that it produces a firm belief or

  conviction, without hesitation, about the matter in issue.”).

  (4)   Federal Rule of Civil Procedure 11 applies to “papers”

  submitted to the Court, and the Eleventh Circuit reviews “sua sponte

  … sanctions” under Rule 11 with “particular stringency.” Kaplan v.

  DaimlerChrysler, A.G., 331 F.3d 1251, 1255 (11th Cir. 2003) (citations

  omitted).   Because sua sponte Rule 11 sanctions afford no “‘safe harbor’

  opportunity” for a litigant, a court must employ the “akin to contempt”

  standard of proof. Id.

        The Eleventh Circuit has not explained what “akin to contempt”

  requires, but the State of Alabama has argued that it necessitates “subjective

  bad faith,” like an inherent power sanction. In re Office of Ala. Atty. Gen., No.

  21-13514, 2023 WL 129438, at *3 (11th Cir. Jan. 9, 2023). Other Circuit Courts

  have held that “akin to contempt” requires subjective bad faith. See, e.g., In re

  Pennie & Edmonds LLP, 323 F.3d 86, 87 (2d Cir. 2003) (“[W]here, as here, a

  sua sponte Rule 11 sanction denies a lawyer the opportunity to withdraw the

  challenged document pursuant to the ‘safe harbor’ provision of Rule 11(c)(1)(A),

  the appropriate standard is subjective bad faith.”).




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        When considering attorney sanctions, a court must resolve all doubts in

  favor of the attorney and never scrutinize with hindsight. See, e.g., Gust, Inc.

  v. Alphcap Ventures, LLC, 905 F.3d 1321, 1327 (Fed. Cir. 2018) (noting that a

  court must “avoid hindsight and resolve all doubts in favor” of the attorney);

  Jones v. Int’l Riding Helmets, Ltd., 49 F.3d 692, 695 (11th Cir. 1995) (“[T]he

  court’s inquiry focuses only on the merits of the pleading gleaned from the facts

  and law known or available to the attorney at the time of filing. The court is

  expected to avoid using the wisdom of hindsight and should test the signer’s

  conduct by inquiring what was reasonable to believe at the time of the

  pleading, motion, or other paper was submitted.”) (citation omitted) (emphasis

  in original); Rounseville v. Zahl, 13 F.3d 625, 633 (2d Cir. 1994) (“[A]ll doubts

  are to be resolved in favor of the signer of the document that is the basis for

  Rule 11 sanctions.”) (citation omitted).

        In addition, the standard for “testing conduct” under Rule 11—including

  alleged misrepresentations—is “reasonableness under the circumstances.”

  Office of Ala. Atty. Gen., No. 21-13514, 2023 WL 129438, at *3 (quoting United

  States v. Milam, 855 F.2d 739, 743 (11th Cir. 1988)).          “In determining

  reasonableness under the circumstances,” a court must employ a two-step

  process: “first ‘whether the party’s claims are objectively frivolous’ with ‘no

  reasonable factual basis’; and second, ‘whether the person who signed the

  pleadings should have been aware that they were frivolous’ after conducting a




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      reasonable inquiry.” Id. (quoting Baker v. Alderman, 158 F.3d 516, 524 (11th

      Cir. 1998)).

      (5)     Attorneys subject to sanctions proceedings must be afforded

      due process.     Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998).

      Foremost, an attorney is entitled to know “the precise rule, standard, or law

      that he or she is alleged to have violated and how he or she allegedly violated

      it.” United States v. Shaygan, 652 F.3d 1297, 1319 (11th Cir. 2011). But there

      are procedural safeguards that are equally important. In Shaygan, among

      other deprivations, the attorneys (i) were sequestered, which precluded them

      from “know[ing] about the testimony of the other witnesses at the proceeding,”

      (ii) “had no opportunity to cross-examine any witnesses,” and (iii) “did not know

      that the district court might rely on [their] testimony to impose an individual

      sanction.” Id. at 1318. In addition, the district court “conducted an inquiry,

      not an adversarial hearing.” Id. On that record, the Eleventh Circuit found

      that the district court’s proceeding “did not constitute an opportunity to be

      heard in the Anglo-American tradition.” Id.

      (6)     Sanctions must be determined on an individual basis. Shaygan,

      652 F.3d at 1319 (“Each of these attorneys also cannot be held responsible for

      the acts or omissions of others …”).

                                *      *        *   *

      Considering those rules, the panel’s task was different than this Court’s

obligation:




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                                         The Panel               This Court

Required to Apply the                 The panel did not
“Clear and Convincing”            identify what standard it          Yes
Evidence Standard?                         applied.


Required to Make a                   The panel made no
Finding of Subjective Bad         finding of subjective bad          Yes
Faith?                                      faith.

                                   The panel generally
Required to Identify a
                                    found “misconduct”
Rule, Statute, or Case that                                          Yes
                                  without pinpointing the
the Attorneys Violated?
                                     alleged violation.
                                   Because the panel was
                                    tasked with gathering
Allowed to Sequester                 evidence, it took the
                                                                     No
Witnesses?                           position that it could
                                         sequester the
                                         participants.
                                       The participants
Required to Allow the             requested an opportunity
Attorneys to Respond to                to respond to the             Yes
Allegations?                       evidence, but the panel
                                     denied that request.
                                    The panel repeatedly
                                    emphasized that the
Adversarial Proceeding?                                              Yes
                                      inquiry was non-
                                        adversarial.

      The panel’s inquiry was an evidence-gathering effort, comparable to a grand

jury investigation. The culmination of a grand jury’s non-adversarial investigation—

an indictment—is simply an accusation, not conclusive proof. See, e.g., United States

v. Delaney, No. 11-497, 2014 WL 12929089, at *1 (N.D. Ill. Aug. 15, 2014)

(“Proceedings before a grand jury are non-adversarial, established to determine only

whether there is probable cause to believe a crime has been committed, not the guilt

or innocence of the accused.”).


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       Although an accusation may initiate further process—much like an indictment

or the Report has done in this case—the judiciary prizes an adversarial process to

arrive at the truth. See generally United States v. Thompson, 827 F.2d 1254, 1259

(9th Cir. 1987) (“Adversary proceedings do in fact take more time, and they are more

cumbersome, but with good reason: The adversary process helps us get at the truth.”).

       The panel was not concerned with standards of proof; legal frameworks tied to

a precise rule, statute, or case; whether anyone acted with subjective bad faith; or

affording the Respondents an opportunity to respond to the evidence presented. Nor

did the panel give the Respondents the benefit of the doubt, refrain from hindsight

scrutiny, or evaluate whether anyone acted “akin to contempt.” For these reasons,

though the Court may consider certain evidence gathered by the panel (in the same

way that a petit jury could be presented with evidence received initially by a grand

jury), the Court should evaluate that evidence without deferring to the conclusions

reached by the panel (in the same way that a petit jury evaluates the evidence, not

the indictment, when deciding guilt).

                                  DISCUSSION

I.     Ms. Eagan and Mr. Doss should not be sanctioned because they did not
       attempt to manipulate the random assignment of judges or otherwise
       engage in impermissible “judge shopping.”

       The Court’s Supplemental Orders to Show Cause directed to Ms. Eagan and

Mr. Doss, respectively, requires that both attorneys “show cause why [she and he]

should not be sanctioned for attempting to manipulate the random case assignment

procedures for the U.S. District Courts for the Northern and Middle Districts of




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Alabama in violation of controlling precedent.” (Docs. 483 and 484 at 10). Two

unavoidable facts should end this inquiry without further analysis: (i) Ladinsky was

not randomly assigned to this Court; and (ii) the Federal Rules of Civil Procedure and

related caselaw conferred a right to voluntarily dismiss—for any reason—and there

was no controlling precedent to the contrary.

      A.     Ladinsky was not randomly assigned to this Court.

      Ladinsky. The panel had one task:

      [T]he key question presented here: whether counsel for the plaintiffs in
      Walker and Ladinsky, and in a subsequently filed case, Eknes-Tucker v.
      Ivey, 2:22-cv-184-LCB (M.D. Ala.), attempted to circumvent the random
      case assignment procedures of the United States District Courts for the
      Northern District of Alabama and the Middle District of Alabama.

(Final Report of Inquiry at 1).

      This begs the dispositive question: Was Ladinsky randomly assigned to Your

Honor? The panel’s Final Report answers this question:

      The practice of the Northern District is that if there is a motion to
      consolidate or reassign a subsequently filed case to a judge presiding
      over an earlier filed and related case, the motion is decided by the judge
      presiding over the earlier filed case. Of course, that is exactly what
      occurred here, although there was not technically a motion filed …
      Judge Axon, who presided over Ladinsky, which was the earlier filed
      case, decided that the cases should be assigned before the same judge,
      and she entered an order transferring Ladinsky to Judge Burke.

Id. at 49 (emphasis added).

      On May 20, 2022, Respondents learned, for the first time, why Ladinsky was

transferred to Your Honor on April 15: “Judge Axon was on day four of what was

scheduled to be a two-plus-week criminal trial … And based upon judicial efficiency

and economy, Judge Burke took the case. Judge Axon would not have had the judicial



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resources to start the case right away” and thus transferred Ladinsky to this Court.

(May 20, 2022, Panel Hearing Trans. at 33). The Respondents did not know about

Judge Axon’s criminal trial on April 15, 2022, when the decision was made to dismiss

Ladinsky. (Final Report of Inquiry at 8 n.1). Moreover, the Report acknowledges

that Ladinsky’s transfer to this Court was not in keeping with the Northern District’s

practice. See id. at 49. The undisputed facts regarding Ladinsky’s path to this Court

are as follows:

      (1)    Ladinsky, the first-filed action, initially was randomly assigned to Judge
             Manasco.

      (2)    After Judge Manasco’s recusal, Ladinsky was randomly assigned to
             Magistrate Judge Cornelius.

      (3)    Because the parties did not unanimously consent to dispositive
             Magistrate Judge jurisdiction, Ladinsky was randomly assigned to
             Judge Axon.

      (4)    Contrary to the Northern District practice, Judge Axon transferred
             Ladinsky—without a motion to consolidate or reassign, or an order to
             show cause, being filed—to Your Honor, who had been assigned the
             subsequently-filed Walker action.

      Ladinsky passed through three randomly assigned judges, and Respondents

took no action in response to those assignments. There was no motion to consolidate

Ladinsky and Walker, yet Ladinsky was directly assigned to this Court. Voluntarily

dismissing Ladinsky, after it had been directly assigned to this Court, as opposed to

being randomly assigned, neither “manipulate[d]” nor “circumvent[ed]” the “random

assignment of judges.” (Doc. 406 at 4).

      Eknes-Tucker.       Respondents did not do anything to “manipulate” or

“circumvent” the “random assignment of judges” to Eknes-Tucker. Id. Respondents



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did not steer Eknes-Tucker to or away from any judge in the Middle District. The

Clerk randomly assigned Eknes-Tucker to Judge Huffaker, and Respondents did not

do anything in response to that assignment. Then, when Judge Huffaker assigned

Eknes-Tucker to this Court, Respondents did not do anything in response to that

assignment either.5

                                *      *        *   *

      From a factual standpoint, Respondents are not guilty of “attempting to

manipulate the random case assignment procedure” as charged in the Order. When

Respondents voluntarily dismissed Ladinsky, they did not have a random

assignment.

      B.      Eleventh Circuit precedent precludes sanctioning Ms. Eagan
              and Mr. Doss for considering a judge’s identity when deciding to
              voluntarily dismiss Ladinsky.

      The Order charges Respondents with having violated a rule that did not exist

on April 15, 2022, and does not exist today: that parties may not voluntarily dismiss

an action under Rule 41 due, even in part, to the assigned judge’s identity. That rule

appears nowhere in Supreme Court precedent, Eleventh Circuit precedent, the




5      For Eknes-Tucker, “all defendants [were] residents of the State [of Alabama],”
(Doc. 1 ¶ 23), and venue was proper in “a judicial district in which any defendant
reside[d].” See 28 U.S.C. § 1391(b). Some defendants resided in the Northern District,
while other defendants resided in the Middle District. Id. Both Districts, therefore,
qualified as proper venues. Regardless of Respondents’ reasons for doing so, the
statute imposed no requirement to file Eknes-Tucker in the Northern District and,
thus, provided no clear guidance of any such mandate simply because Ladinsky had
been previously pending there.



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United States Code, the Federal Rules of Civil Procedure, the local rules of the

Northern and Middle Districts, or the Alabama Rules of Professional Conduct.

      In sharp contrast, Rule 41’s meaning has been fixed and ascertainable for

decades: “[T]he plaintiff may dismiss an action without a court order by filing … a

notice of dismissal before the opposing party serves either an answer or a motion for

summary judgment.” Fed. R. Civ. P. 41(a)(1)(A)(i). Rule 41 limits only when—not

why—that right may be exercised. See, e.g., Cooter & Gell v. Hartmax Corp., 496 U.S.

384, 397 (1990) (Rule 41(a)(1) “was designed to limit a plaintiff’s ability to dismiss an

action” during “the brief period before the defendant had made a significant

commitment of time and money”); Absolute Dismissal under Federal Rule 41(a): The

Disappearing Right of Voluntary Nonsuit, 63 YALE L.J. 738, 738 (1954) (noting that,

at common law, “a plaintiff had an absolute right to dismiss his suit without prejudice

at any time before verdict or judgment,” but that Rule 41(a) “limits absolute dismissal

to an earlier point”) (emphasis added). Binding Eleventh Circuit precedent confirms

that reading: “a plaintiff has an absolute right to dismiss a lawsuit before the

defendant has filed an answer or summary judgment motion.” Carter v. United States,

547 F. 2d 258, 259 (5th Cir. 1977) (emphasis added); see generally Black’s Law

Dictionary (defining “absolute” as “free from restriction, qualification, or condition”).

      After Carter, the Eleventh Circuit has never suggested, let alone held, that

“absolute” means anything other than “absolute.” “It is well established that Rule

41(a)(1)(i) grants a plaintiff an unconditional right to dismiss his complaint by notice

and without an order of the court at any time prior to the defendant’s service of an




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answer or a motion for summary judgment.” Matthews v. Gaither, 902 F.2d 877, 880

(11th Cir. 1990) (emphasis added); see also Merriam-Webster Dictionary (defining

“unconditional” as “not … limited”).

      If a right is absolute and unconditional, then the “reason for the dismissal” is

necessarily “immaterial.” 1 Federal Rules of Civil Procedure, Rules & Commentary

– Rule 41 (Feb. 2023). As Judge Posner observed, “One doesn’t need a good reason,

or even a sane or any reason, to dismiss a suit voluntarily. The right is absolute, as

Rule 41(a)(1) and the cases interpreting it make clear, until, as the rule states, the

defendant serves an answer or a motion for summary judgment.” Marques v. Fed.

Reserve Bank of Chi., 286 F.3d 1014, 1017 (7th Cir. 2002) (citations omitted).

      Sanctioning Respondents for voluntarily dismissing Ladinsky (and filing

Eknes-Tucker) would be contrary to two fundamental rules of law, each of which is

addressed in the following sections:

      (i)    Fair Notice: The Eleventh Circuit, speaking through Judge Lynne and
             Judge Pryor from Alabama, has been crystal clear and demanding: A
             lawyer is entitled to know the “precise rule” that he or she is accused of
             violating, and that rule cannot be an unknowable standard of conduct.
             United States v. Shaygan, 652 F.3d 1297, 1319 (11th Cir. 2011); In re
             Finkelstein, 901 F.2d 1560 (11th Cir. 1990); and

      (ii)   Subjective Bad Faith: A lawyer cannot be disciplined unless he or she
             acted with subjective bad faith. Purchasing Power, LLC v. Bluestem
             Brands, Inc., 851 F.3d 1218 (11th Cir. 2017).

These rules make practical sense. Most lawyers, like Respondents, endeavor to be

honest and ethical and to advocate zealously within the rules. They cannot do so

when the purported rules are unwritten, unknown, or otherwise unascertainable.




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             1.    A lawyer cannot be disciplined for allegedly violating an
                   abstract concept rather than an ascertainable rule.

      For a sanctions analysis, the starting point is identifying the rule that a lawyer

purportedly violated.   Shaygan, 652 F.3d at 1319 (“An attorney charged with

misconduct is entitled … to know the precise rule, standard, or law that he or she is

alleged to have violated and how he or she allegedly violated it.”). Once the rule is

identified, the Court must ensure that it “provide[d] fair warning to persons of

ordinary intelligence of … the conduct prohibited” and “provide[d] ascertainable

standards of guilt to protect against arbitrary, erratic, and discriminatory

enforcement.” Fla. Businessmen for Free Enter. v. City of Hollywood, 673 F.2d 1213,

1218 (11th Cir. 1982) (describing general due process standards) (citations omitted).

      That consideration applies with full force to sanctions proceedings. Judge

Lynne, writing for the Eleventh Circuit, observed, “In order to satisfy traditional

notions of due process, the conduct prohibited must be ascertainable.”            In re

Finkelstein, 901 F.2d 1560, 1564 (11th Cir. 1990) (citing NAACP v. Button, 371 U.S.

415, 432-33 (1963)). That “[s]pecific guidance”—necessary to satisfy due process—“is

provided by case law, applicable court rules, and the ‘lore of the profession’ as

embodied in the codes of professional conduct.” Id. at 1564-65 (citing In re Snyder,

472 U.S. 634, 645 (1985)). A court may not “deprive an attorney of the opportunity

to practice his profession on the basis of a determination after the fact that conduct

is unethical if responsible attorneys would differ in appraising the propriety of that

conduct.” Id. at 1565 (quoting In re Ruffalo, 390 U.S. 544, 556 (1968) (White, J.,

concurring)); see also Eash v. Riggins Trucking Inc., 757 F.2d 557, 571 (3d Cir. 1985)



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(noting that “the absence … of a statute, Federal Rule, ethical canon, local rule or

custom, court order, or … court admonition, proscribing the act for which a sanction

is imposed,” may raise constitutional concerns).

       In Finkelstein, the district court “disclaimed reliance upon a written canon of

ethics, a code provision, or a case which proscribed the conduct which it found

reprehensible but depended entirely upon a ‘code by which an attorney practices

which transcends any written code of professional conduct.’” Finkelstein, 901 F.2d at

1565. The Eleventh Circuit, reversing the sanction, rejected that approach: “[t]he

fatal flaw with this transcendental code of conduct is that it existed only in the

subjective opinion of the court, of which [the sanctioned attorney] had no notice, and

was the sole basis of the sanction administered after the conduct had occurred.” Id.6

       Other courts have reached similar conclusions. As the First Circuit observed,

it is “unfair for the court to use the case [in which the sanction is imposed] as the first

step in adopting a new rule.” United States v. 789 Cases of Latex Surgeon Gloves, 13

F.3d 12, 15 (1st Cir. 1993). ‘The law forbids the imposition of a new rule without prior

notice.” Id. (quoting Boettcher v. Hartford Ins. Group, 927 F.2d 23, 26 (1st Cir. 1991));

see also In re Richardson, 793 F.2d 37, 41 (1st Cir. 1986) (reversing sanction premised



6      Judge Pryor, writing for the Eleventh Circuit, reaffirmed that principle in
Shaygan, 652 F.3d at 1319. Although the district court found that the attorneys had
“acted vexatiously and in bad faith,” the district court identified no “precise rule,
standard, or law” that had been violated. Id. at 1309. Despite the district court’s
finding of “bad faith” under the umbrella of “prosecutorial misconduct”—which is no
more “precise” than “bad faith” under the umbrella of “judge shopping”—the Eleventh
Circuit cautioned that “[i]t is not apparent to us that either attorney necessarily
violated any ethical rule or any constitutional or statutory standard” warranting
sanctions. Id. at 1319.

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on violation of an “unwritten rule”); Eash, 757 F.2d at 571 (“[F]undamental fairness

may require some measure of prior notice to an attorney that the conduct that he or

she contemplates undertaking is subject to discipline or sanction by a court.”).

      The Federal Rules of Civil Procedure endorse this framework. Where there is

no controlling law, a court may impose additional obligations on litigants and

attorneys through local rules and standing orders. Fed. R. Civ. P. 83(b). But Rule

83(d) limits any sanction for noncompliance: “No sanction … may be imposed for

noncompliance with any requirement not in federal law, federal rules, or the local

rules unless the alleged violator has been furnished in the particular case with actual

notice of the requirement.” Id.; see also Fed. R. Civ. P. 83 advisory committee note

(1995) (“[T]his rule disapproves imposing any sanction or other disadvantage on a

person for noncompliance with … an internal directive, unless the alleged violator

has been furnished actual notice of the requirement in a particular case.”).

             2.     When Ladinsky was dismissed, the only ascertainable
                    standard was that Federal Rule of Civil Procedure 41
                    conferred an “absolute” and “unconditional” right to
                    dismiss.

      Considering that due process framework, when Ms. Eagan and Mr. Doss

dismissed Ladinsky and filed Eknes-Tucker, only one standard was clear: Rule

41(a)(1) provides an “absolute” and “unconditional” right to dismiss a lawsuit before

a defendant’s service of an answer or motion for summary judgment. Carter, 547 F.

2d at 259; Matthews, 902 F.2d at 880; Am. Cyanamid Co. v. McGhee, 317 F.2d 295,

297 (5th Cir. 1963). The Rule itself is unambiguous: “The plaintiff may dismiss an

action without a court order by filing … a notice of dismissal before the opposing party



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serves either an answer or a motion for summary judgment.”                Fed. R. Civ. P.

41(a)(1)(A)(i). The only limitations are contained in Rule 41 itself:

      (i)     Timing: Once the defendant serves either an answer or a
              summary judgment motion, the plaintiff’s right to voluntarily
              dismiss is extinguished. Fed. R. Civ. P. 41(a)(1)(A)(i).

      (ii)    Repeat Use: Rule 41(a)(1)(A)(i) can be invoked only once, as the
              second invocation is with prejudice. Fed. R. Civ. P. 41(a)(1)(B).

      (iii)   Cost Shifting: In its discretion, the court “may order the plaintiff
              to pay all or part of the costs of the previous action” if “a plaintiff
              … previously dismissed an action” and then “files an action based
              on or including the same claim against the same defendant.” Fed.
              R. Civ. P. 41(d)(1).

      Apart from those limitations, Rule 41(a)(1)(A)(i) does not impose any

restrictions—“judge shopping,” “forum shopping,” or otherwise. The Fifth Circuit

illustrated that point in Pilot Freight Carriers, Inc. v. International Brotherhood of

Teamsters, 506 F.2d 914 (5th Cir. 1975), which remains precedential.7 The Pilot

Freight defendants argued that a plaintiff should not be permitted to voluntarily

dismiss a complaint after unsuccessfully seeking injunctive relief, warning that strict

construction of Rule 41 “permits forum shopping in the sense that a litigant may be

able to choose a ‘friendly judge.’” 506 F. 2d at 917. The Fifth Circuit rejected the

defendants’ invitation to rewrite Rule 41(a)(1), observing, “Rule 41(a)(1) means

precisely what it says.” Id. at 916. In sum, there is no “judge shopping” exception to

Rule 41.



7     In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc),
the Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
Circuit handed down before October 1, 1981.



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      Recognizing the clear meaning of Rule 41, some district courts have adopted

local rules that place conditions on cases that are re-filed after Rule 41 dismissals.

Some courts have local rules specifying that a subsequently filed case must be

assigned or transferred to the judge who presided over the first-filed case. Other

courts have local rules expressly precluding the use of Rule 41 dismissals to avoid a

particular judge. Attached as Appendix A is a summary of some of those local rules.

The Northern District and the Middle District, however, have not implemented

comparable local rules.

      The Eleventh Circuit likewise has neither a local rule nor otherwise given

“clear guidance” about “judge shopping” in the context of Rule 41, a proposition with

which this Court agrees:

      MR. PRATER: We would like to know the specific rule under Shaygan
      that our people violated. Is it an abstract judge-shopping concept, or is
      there a rule that they violated? That's what we're asking, Your Honor.
      And I appreciate your giving me the opportunity to talk to you a little
      bit more.

      THE COURT: Understood. And, look, you know, I mean, I get it that
      different circuits have different opinions on this. You know, in the Ninth
      Circuit, they have got case law, you know, upholding a judge who just
      about gave the death penalty in a case for judge shopping. So, I mean, I
      get it that different circuits have different opinions on this. And I get it
      that the Eleventh Circuit doesn't have clear guidance on this. Something
      tells me that we will get it one way or the other when this is over with.

(Mar. 19, 2024, Hearing at 60-61) (emphasis added).

      This uncertainty is dispositive because a lawyer cannot be sanctioned for

conduct about which there is no local rule or “clear guidance” to the contrary. If

Respondents had knowingly and in bad faith violated either (i) a local rule or (ii)




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“controlling [Eleventh Circuit] precedent” addressing Rule 41 dismissals and

subsequent filings, the Court’s task would be straightforward. But without a local

rule or “clear guidance,” the Eleventh Circuit’s default rule remains that Rule 41 is

“absolute,” Carter, 547 F.2d at 259, and “unconditional,” Matthews, 902 F.2d at 880,

which, under a plain meaning, means that “[o]ne doesn’t need a good reason, or even

a sane or any reason, to dismiss a suit voluntarily.” Marques, 286 F.3d at 1017.

             3.      BellSouth is inapplicable, did not silently overrule prior
                     precedent, and did not announce a new, sweeping
                     prohibition against “judge shopping.”

      Unlike its precedent clearly recognizing the “absolute” and “unconditional”

nature of Rule 41, the Eleventh Circuit has not defined “judge shopping,” which is an

abstract concept.8    Nor has the Eleventh Circuit defined what qualifies as the

“manipulation of the random assignment of judges.” Like the targeted practice of

“prosecutorial misconduct” was found too imprecise in Shaygan (even when

accompanied by the district court’s finding of “bad faith”), 652 F.3d at 1309, 1319,

“judge shopping” and “manipulation” are not ascertainable prohibitions—reasonable

minds might disagree on what they include (and, likewise, exclude).

      Like most Circuit Courts, the Eleventh Circuit has expressed general

disapproval of both practices in circumstances unrelated to voluntary dismissals.



8     Even dictionaries disagree on what it means. Compare BLACK’S LAW
DICTIONARY (2019) (defining “judge shopping” as “[t]he practice of filing several
lawsuits asserting the same claims—in a court or a district with multiple judges—
with the hope of having one of the lawsuits assigned to a favorable judge and of
nonsuiting or voluntarily dismissing the others”), with BOUVIER LAW DICTIONARY
(2012) (defining “judge shopping” as “[a]n attempt to place a matter before a
sympathetic judge”).

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See, e.g., In re BellSouth Corp., 334 F.3d 941 (11th Cir. 2003). Based on that decision,

the Order charges Respondents with having violated BellSouth by engaging in “judge

shopping” through a Rule 41 voluntary dismissal. But there are compelling reasons

why BellSouth has no bearing on this Court’s analysis.

      BellSouth is factually and legally distinguishable. BellSouth (i) did not involve

a plaintiff’s absolute and unconditional right to voluntarily dismiss under Rule 41;

(ii) addressed whether to prioritize, when they conflict, a litigant’s right to counsel of

choice or the mandates of the recusal statute, 28 U.S.C. § 455; (iii) involved no

sanctions; and (iv) arose from what had “long been a matter of concern that parties

in the Northern District of Alabama might be taking strategic advantage of the

recusal statute [by hiring a law firm which employed a judge’s relative] to, in effect,

‘judge-shop,’” so much so that the court had entered a standing order addressing the

practice. 334 F.3d at 944-45.

      None of those conditions are present in this case.         There is no reason to

extrapolate, from that unusual constellation of variables, any holding pertaining to

voluntary dismissals. To conclude otherwise—that BellSouth altered prior precedent

that Rule 41 dismissals are “absolute” and “unconditional”—would require this Court

to find that the Eleventh Circuit violated its prior panel rule. See, e.g., Swann v.

Southern Health Partners, Inc., 388 F.3d 834, 837 (11th Cir. 2004) (“Under the prior

panel rule, we are bound by the holdings of earlier panels unless and until they are

clearly overruled en banc or by the Supreme Court.”) (citing United States v. Smith,

122 F.3d 1355, 1359 (11th Cir. 1997)).




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      BellSouth provides no guidance for lawyers, like Respondents, when

confronted with (i) whether to voluntarily dismiss a case pursuant to Rule 41(a)(1),

and (ii) whether to file a new case, with similar claims, in one district or another. The

Eleventh Circuit reached neither issue. At most, the Eleventh Circuit suggested that

“a contrivance to interfere with the judicial assignment process constitutes a threat

to the orderly administration of justice.” BellSouth, 334 F.3d at 959. The court,

however, made that finding because the relevant standard—whether to disqualify

counsel—expressly required it. Id. at 948 (describing one of the Robinson factors as

“possible manipulation and impropriety”). That stray statement, therefore, was part

of the Eleventh Circuit’s reasoning, not its holding, which is non-precedential. “There

is a difference between the holding in a case and the reasoning that supports that

holding.” United States v. Vega-Castillo, 540 F.3d 1235, 1237 (11th Cir. 2008) (citing

Atlantic Sounding Co., Inc. v. Townsend, 496 F.3d 1282-84 (11th Cir. 2007)). Courts

“are bound only by the holding of [a prior decision], not the reasoning behind the

holding.” United States v. Murphy, 306 F.3d 1087, 1090 (11th Cir. 2002).

      A decision like BellSouth does not accurately predict how a court would

evaluate voluntary dismissals.       The Eighth, Fifth, and Second Circuits have

illustrated that point:

      •      Eighth Circuit.      For decades, the Eighth Circuit criticized “judge

      shopping” tactics. See, e.g., Ouachita Nat’l Bank v. Tosco Corp., 686 F.2d 1291,

      1300 (8th Cir. 1982) (noting that “judge shopping” is “a practice which has been

      for the most part condemned”). Yet, when deciding whether a lawyer could be




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  sanctioned for voluntarily dismissing a case due in part to concerns with a

  judge, the Eighth Circuit reversed that sanction. Adams v. USAA Cas. Ins.

  Co., 863 F.3d 1069, 1080-81 (8th Cir. 2017) (“Therefore, we hold that the

  district court erred in concluding that counsel engaged in sanctionable conduct

  by stipulating to a dismissal under Rule 41(a)(1) for the purpose of forum

  shopping and avoiding an adverse result.”).

        In Adams, the district court found that the attorneys had voluntarily

  dismissed one case and then “[r]efil[ed] in a more favorable forum [to] avoid[]

  an adverse decision” of the district court. Id. at 1074. The district court

  sanctioned the attorneys.    Id. at 1075. The Eighth Circuit reversed. “The

  reason for the dismissal is irrelevant under Rule 41(a)(1). Therefore, we hold

  that the district court erred in concluding that counsel engaged in sanctionable

  conduct by stipulating to a dismissal under Rule 41(a)(1) for the purpose of

  forum shopping and avoiding an adverse result.” Id. at 1080-81; see also id. at

  1083 (finding that the district court abused its discretion in determining that

  counsel had “abused the judicial process by stipulating to the dismissal of the

  federal action for the purpose of seeking a more favorable forum and avoiding

  an adverse decision”).

  •     Fifth Circuit.     The Fifth Circuit has condemned “judge shopping”

  generally, too. Chitimacha Tribe of La. v. Harry L. Laws Co., Inc., 690 F.2d

  1157, 1164 (5th Cir. 1983) (describing “judge shopping” as “devious” and “bad

  faith”). Like the Eleventh Circuit in BellSouth, the Fifth Circuit affirmed




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  disqualification when counsel was engaged to force a judge’s recusal. McCuin

  v. Tex. Power & Light Co., 714 F.2d 1255, (5th Cir. 1983) (“[C]ounsel may not

  be chosen solely or primarily for the purpose of disqualifying the judge.”).

  Despite its aversion to “judge shopping” and its holding in McCuin, the Fifth

  Circuit later acknowledged that certain types of “judge shopping” are

  permissible because various rules authorize it, including Rule 41. See, e.g.,

  Bechuck v. Home Depot U.S.A., Inc., 814 F.3d 287, 290 (5th Cir. 2016)

  (“Although forum-shopping is not a trivial concern, Rule 41(a)(1) essentially

  permits forum-shopping.”).

        The Bechuck plaintiff voluntarily dismissed under Rule 41(a)(1)(A)(i)

  after the district court entered adverse rulings against him. Id. After he filed

  his dismissal notice, the district court entered an order requiring the plaintiff,

  “[i]f [he] sues [the defendants] again for the same cause of action, [to] do so

  before this court.” Id. at 290-91. Echoing Carter and Matthews, the Fifth

  Circuit reversed:

        Although forum-shopping is not a trivial concern, Rule 41(a)(1)
        essentially permits forum-shopping. It is not uncommon for
        plaintiffs to use voluntary dismissal to secure their preferred
        forum, such as when they seek to undo removal and return to
        state court. While this may seem distasteful to opposing parties,
        we have consistently held that Rule 41(a)(1) means what it says
        and defendants who desire to prevent plaintiffs from invoking
        their unfettered right to dismiss actions under Rule 41(a)(1) may
        do so by taking the simple step of filing an answer.

        The effect of a Rule 41(a)(1) dismissal is to put the plaintiff in a
        legal position as if he had never brought the first suit. Therefore,
        the plaintiff is free to return to the dismissing court or other courts
        at a later date with the same claim. By placing him back into the



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         situation as though he had never brought suit, Rule 41(a)(1)(A)(i)
         necessarily allows him to choose his forum anew.

  814 F.3d at 293 (cleaned up) (emphasis added).

  •      Second Circuit. The same is true for the Second Circuit. The Second

  Circuit has long condemned the practice of “judge shopping.” See, e.g., United

  States v. Holland, 519 F.3d 909, 915 (2d Cir. 2008) (rejecting efforts by

  defendant to seek a judge’s recusal based on his own threats because doing so

  would authorize “defendants [to] readily manipulate the system” until “the

  defendant gets a judge he preferred”). Like the Eleventh Circuit in BellSouth,

  the Second Circuit rejected efforts to cause a judge’s recusal due to counsel’s

  retention. In re FCC, 208 F.3d 137, 139 (2d Cir. 2000) (“As between a judge

  already assigned to a panel, and a lawyer who thereafter appears in

  circumstances where the appearance might cause an assigned judge to be

  recused, the lawyer will go and the judge will stay.”). Yet, when confronted

  with whether an attorney could be sanctioned for voluntarily dismissing a case

  due to concerns with a judge, the Second Circuit reversed the sanction. Wolters

  Kluwer Fin. Servs., Inc. v. Scivantage, 564 F.3d 110, 115 (2d Cir. 2009) (“Dorsey

  was entitled to file a valid Rule 41 notice of voluntary dismissal for any reason,

  and the fact that it did so to flee the jurisdiction of the judge does not make the

  filing sanctionable.”).

         In Wolters Kluwer, the attorneys filed a lawsuit in the Southern District

  of New York, voluntarily dismissed the case, and re-filed the same lawsuit in

  the District of Massachusetts. 564 F.3d at 110. The Southern District of New



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      York found that the attorneys’ “main purpose in filing a Rule 41 voluntary

      dismissal … was to judge-shop in order to conceal from [their] client

      ‘deficiencies in counsel’s advocacy.’” Id. at 114. To the district court, “this sort

      of judge-shopping was an improper purpose and was accordingly sanctionable.”

      Id. The Second Circuit, however, reversed. “[The lawyers were] entitled to file

      a valid Rule 41 notice of voluntary dismissal for any reason, and the fact that

      [they] did so to flee the jurisdiction or the judge does not make the filing

      sanctionable.” Id. at 115. Because the attorneys were “entitled by law to

      dismiss the case,” there was no basis to sanction them. Id.

      BellSouth covers Respondents’ conduct only if the Eleventh Circuit’s general

disapproval of “judge shopping” applies to every litigation decision that potentially

impacts a judicial assignment, including, but not limited to, Rule 41 dismissals. That

reading of BellSouth, however, would prohibit a host of ordinary litigation decisions,

subjecting attorneys to discipline for exercising otherwise available procedural rights

that happen to affect judicial assignments:

             1.     Removal: The plaintiff sues a defendant in state court.
      The defendant has a plausible argument that the requirements for
      diversity jurisdiction are met. The defendant determines that the judge
      in state court would be less favorable than any judge in the relevant
      federal court. The defendant removes the case to federal court, in part,
      based on an effort to avoid the state court judge.

             2.     Dismissal Post Removal: The plaintiff sues a defendant
      in state court. The defendant removes the case to federal court and
      draws a judge. The plaintiff believes that the assigned federal judge will
      be less receptive to the claims than the previous state court judge. The
      plaintiff voluntarily dismisses, re-files the lawsuit in state court, and
      adds a non-diverse defendant that the plaintiff did not originally plan to
      sue.



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         3.    Magistrate Consent: The plaintiff sues a defendant in
  federal court. The case is assigned to a magistrate judge. The plaintiff
  determines that the magistrate judge would be less favorable than any
  of the potential district judges. The plaintiff does not consent to the
  magistrate judge, in part, based on an effort to avoid that magistrate
  judge.

         4.     Choosing a Federal District Court: The plaintiff plans
  to sue a defendant in federal court. Under the venue rules, venue is
  proper is two different federal districts. The plaintiff determines that
  the judges in one district are better for the case than in the other district.
  The plaintiff files the lawsuit in the former district, in part, to avoid the
  judges in the latter district.

         5.     Choosing a Federal Division: The plaintiff plans to sue
  a defendant in federal court. Only one federal district would be the
  proper venue. The plaintiff knows that only two judges draw cases in
  one of the court’s divisions. The plaintiff files in that division with the
  hope of drawing one of those two judges rather than the other judges in
  the district.

         6.     Transferring a Case: The plaintiff sues a defendant in
  federal court. The defendant has a plausible argument that the case
  should be transferred to another federal district court. The defendant
  also believes that the judges in the transferee court would be superior to
  the judge presently assigned to the case. The defendant moves to
  transfer the case, in part, due to the identity of the current judge.

         7.     Filing Class Actions: An attorney files the same class
  actions, on behalf of different named plaintiffs, in different federal
  district courts. Each case proceeds, and for one of them, the assigned
  judge denies the defendant’s motion to dismiss and makes remarks
  indicating that the judge will likely grant a motion to certify a class. The
  attorney also determines that the Circuit Court over that particular
  district court will be more likely to affirm a class certification order than
  the other Circuit Courts. The attorney dismisses all other putative class
  actions and proceeds only before the preferred district judge.

         8.    Consolidating Across Districts: Dozens of lawyers file
  similar claims, including putative class actions, around the country
  against a single defendant. The defendant petitions the Judicial Panel
  on Multidistrict Litigation (“JPML”) to consolidate all cases before a
  single judge for pre-trial purposes. The lawyers for the plaintiffs agree



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      that pre-trial consolidation is sensible and propose to the JPML that the
      cases should be consolidated before a particular judge who they believe
      will be most favorable to their cases. The JPML adopts the proposal of
      the plaintiffs’ lawyers and transfers all cases to their proposed judge.

              9.     Consolidating Within Districts: Lawyers file several
      lawsuits against a single defendant within one federal district. In the
      lawyers’ view, the judge assigned to the first-filed case is more favorable
      than the judges assigned to the later-filed cases. There is a plausible
      argument that the cases share common questions of fact or law.
      Knowing that the district’s practice is to consolidate cases before the
      first-filed judge, the lawyers move to consolidate all cases before the
      first-filed judge to secure, in their view, the “best” judge for the cases.

            10.   Seeking or Not Seeking Recusal: The plaintiff sues a
      defendant in federal court. There is a plausible basis to seek the
      assigned judge’s recusal. The plaintiff prefers the assigned judge, but
      the defendant does not. The plaintiff chooses not to seek the judge’s
      recusal. The defendant chooses to seek the judge’s recusal.

              11.    Voluntary Dismissal: The plaintiff sues a defendant in
      federal court. The case is assigned to a particular judge. The attorney
      advises the plaintiff that the judge’s prior rulings indicate that a loss is
      likely. The plaintiff voluntarily dismisses the case before the defendant
      answers or files a motion for summary judgment. Months pass, and the
      plaintiff informs the attorney that she wishes to file anyway and take
      her chances. The district court has no rule requiring that the attorney
      mark the case as a “related case” or otherwise advise, at filing, about the
      first-filed lawsuit. The plaintiff re-files the lawsuit and draws a judge
      different from the judge originally assigned.

      Nothing in BellSouth suggests that the Eleventh Circuit intended to reach

these scenarios. Nevertheless, for BellSouth to prohibit Respondents’ actions, it must

be interpreted to prohibit “judge shopping” in absolute terms. If that is the case, then

BellSouth (i) effectively re-wrote Rule 41 without referencing it, and (ii) expanded the

Court’s inherent power to include probing every action by a lawyer that could

potentially affect judicial assignments and determine whether the judge’s identity




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contributed to the choice. The Eleventh Circuit did not reach this conclusion, which

weighs decisively in favor of confining the decision to its unique facts.

             4.     Without “clear guidance,” Ms. Eagan and Mr. Doss cannot
                    have acted with bad faith.

      The situation on April 15, 2022, was and remains the following:

      1.     The plain language of Rule 41 provides—without qualification—that
      “the plaintiff may dismiss an action without a court order by filing … a notice
      of dismissal before the opposing party serves either an answer or a motion for
      summary judgment.” Fed. R. Civ. P. 41(a)(1)(A)(i).

      2.    Controlling Eleventh Circuit precedent recognizes an “absolute” and
      “unconditional” right to dismiss a complaint by notice and without an order of
      the court at any time prior to the defendant’s service of an answer or a motion
      for summary judgment. Carter, 547 F. 2d at 259; Matthews, 902 F.2d at 880.

      3.    No Northern District or Middle District local rule or standing order
      addresses Rule 41 voluntary dismissals and subsequent filings.

      4.     The Eleventh Circuit has not found “judge shopping,” in the context of
      Rule 41, to be sanctionable misconduct. In fact, in the one case concerning
      alleged “judge shopping” that the Court has cited in its Supplemental Order,
      no lawyer was sanctioned or disciplined. In re BellSouth Corp., 334 F.3d 941
      (11th Cir. 2003). The Eleventh Circuit has not otherwise defined “judge
      shopping” or held that dismissal or re-filing decisions could warrant attorney
      discipline. As this Court correctly observed, “the Eleventh Circuit doesn’t have
      clear guidance on this.” (Mar. 19, 2024, Hearing at 60-61).

      5.     Every Circuit Court addressing alleged “judge shopping” in the context
      of Rule 41 has refused to impose sanctions. See, e.g., Adams, 863 F.3d at 1080;
      Bechuck, 814 F.3d at 293; Wolters Kluwer Fin. Servs., Inc., 564 F.3d at 115.9


9      The Court suggested that the Ninth Circuit has “case law, you know, upholding
a judge who just about gave the death penalty in a case for judge shopping.” (Mar.
19, 2024, Hearing at 60-61). Respondents have not found that case law or how it
would establish controlling standards for lawyers practicing in the Eleventh Circuit.
Respondents have located Hernandez v. City of El Monte, 138 F.3d 393 (9th Cir. 1998),
where the district court dismissed a lawsuit after finding that the litigants were
engaged in “judge shopping.” But Judge Pregerson, writing for the Ninth Circuit,
reversed. 138 F.3d at 398-400. Unlike the Northern District and the Middle District,
a local rule expressly forbade dismissing one case for the purpose of re-filing to obtain

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      This record does not show bad faith. But “[t]he key to unlocking a court’s

inherent power is a finding of bad faith.” Purchasing Power, LLC, 851 F.3d at 1223.

That standard requires proof of subjective belief or conduct “so egregious that it could

only be committed in bad faith.” Id. (“[T]he inherent powers standard is a subjective

bad-faith standard.”); Hyde v. Irish, 962 F.3d 1306, 1310 (11th Cir. 2020).

      Subjective bad faith is “not simply bad judgment or negligence, but rather it

implies the conscious doing of a wrong because of dishonest purpose or moral

obliquity; … it contemplates a state of mind affirmatively operating with furtive

design or ill will.” Fletcher, No. 21-1433, 2023 WL 3095571, at *5 (quoting United

States v. Gilbert, 198 F.3d 1293, 1299 (11th Cir. 1999)). The Court’s inherent power

“is not a vehicle for it to police all behavior” that could be considered “questionable,

suspicious, unfair, dishonest, sharp, underhanded or similarly dubious.” Hunters

Run Prop. Owners Ass’n, Inc. v. Centerline Real Estate, LLC, No. 18-80407, 2019 WL

12038883, at *3 (S.D. Fla. Oct. 22, 2019). To the contrary, the Eleventh Circuit has

found “bad faith” in narrow circumstances, none of which applies to Respondents.

See, e.g., Meunier Carlin & Curfman, LLC v. Scidera, Inc., 813 Fed. App’x 368, 376

(11th Cir. 2020) (“Nothing here smacks of fraud on the court or disobedience to its

orders.   False statements—even those recklessly made—cannot justify sanctions



a different judge, but there had been no prejudice to the defendants, nor did public
policy favor dismissal of the second case. Id. at 399-400. Considering the balance of
factors, the Ninth Circuit held that the district court abused its discretion in
dismissing the case. Id. at 400. No attorney was disciplined. See also Fields v. Gates,
233 F.3d 1174 (9th Cir. 2000) (reversing inherent power sanction against attorney for
alleged “judge shopping”).

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grounded in the court’s inherent authority.”); In re Sunshine Jr. Stores, Inc., 456 F.3d

1291, 1304 (11th Cir. 2006) (“A party … demonstrates bad faith by delaying or

disrupting the litigation or hampering enforcement of a court order.”).

      Considering the state of the law, Respondents could not have acted in bad faith

when dismissing Ladinsky.         If anything, binding precedent confirmed that

Respondents had the “absolute” and “unconditional” right to dismiss for any reason.

There is no evidence—let alone clear and convincing evidence—that Respondents

acted with subjective bad faith. On the contrary, the undisputed evidence is:

      •      Before dismissing Ladinsky and filing Eknes-Tucker, Respondents were
             not aware of any rules, statutes, or cases that would preclude them from
             dismissing Ladinsky and filing Eknes-Tucker pursuant to Rule 41(a)(1).

      •      The day after the Ladinsky dismissal, Ms. Eagan shared with the media
             that a new lawsuit would be filed. Her candor with the media reveals
             innocent intentions. Had Ms. Eagan believed that she had violated a
             rule, statute, or case, she would not have been transparent with the
             media regarding next steps. A guilty mind would have operated
             furtively and outside media amplification. Fletcher, No. 21-1433, 2023
             WL 3095571, at *5 (noting that bad faith involves “furtive design”).

      •      That Respondents had some concerns with perceived “judge shopping”
             in the days following the Ladinsky dismissal is a red herring. Their
             concerns were not that they had violated an ethical rule. Instead,
             because of the controversial nature of the litigation (as well as
             accusations of “judge shopping” in the media), Respondents were
             concerned that politicians, opposing their clients’ positions, would use
             cries of “judge shopping” to publicly undermine the lawsuit.
             Respondents wanted to ensure that appropriate steps were taken—
             including having an entirely new slate of plaintiffs—to counter the
             public accusation of “judge shopping.”

      This record is a far cry from the bad faith required to support a sanction, even

if there were a precise rule, standard, or law regarding “judge shopping” in the

Eleventh Circuit. There was no “conscious doing of a wrong because of dishonest



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purpose or moral obliquity” or “affirmatively operating with furtive design or ill will.”

Fletcher, No. 21-1433, 2023 WL 3095571, at *5. The undisputed evidence is that, if

there had been any concern that dismissing Ladinsky and filing Eknes-Tucker

constituted misconduct, Respondents would not have agreed to do so.

       Furthermore, even if the law were decisively clarified to prohibit Rule 41

dismissals under these circumstances, a mistaken belief—especially without “clear

guidance” beforehand—does not establish subjective bad faith.            For example, in

Purchasing Power, LLC v. 851 F.3d at 1222, “[e]veryone involved in [the] case trusted

that diversity jurisdiction existed, but no one verified it.” Once the flaw in jurisdiction

was discovered, the district court sanctioned counsel for failing to adequately

investigate the relevant corporate citizenship and making a variety of related

misrepresentations. Id. at 1222. On appeal, the Eleventh Circuit reversed. Although

the citizenship oversight resulted in “a colossal waste of time and effort,” the Eleventh

Circuit found that a mistake was insufficient to find bad faith: “[n]o party in this case

acted with bad intentions.” Id. at 1228.

                                  *      *        *    *

       An ascertainable standard, known in advance, gives a lawyer an opportunity

to make ethical choices. When no ascertainable standard is available, a court may

not discipline a lawyer “on the basis of a determination after the fact that conduct is

unethical if responsible attorneys would differ in appraising the propriety of that

conduct.” Finkelstein, 901 F.2d at 1565. For that reason, it is essential to precisely




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define the “rule, standard, or law,” Shaygan, 652 F.2d at 1319, that the lawyer is

alleged to have violated.

       For this case, when consulting the case law, the rules, and the statutes,

“responsible attorneys” would discover that voluntary dismissals are “absolute,”

Carter, 547 F.2d at 259, and “unconditional,” Matthews, 902 F.2d at 880, and no case

compels a litigant to file a lawsuit in one district over another, even when a prior

lawsuit had been pending in another district. The only arguable restriction on those

rules is BellSouth, but as this Court acknowledged, there is no “clear guidance” on

whether that is, in fact, applicable to circumstances like these. Certainly, none of the

facts in BellSouth resemble what Respondents did.

       Because there is no ascertainable rule or standard that prohibited

Respondents’ litigation decisions and BellSouth did not outlaw all judge-based

decision-making, Respondents should not be sanctioned.10




10     Respondents also should not be sanctioned under Rule 11. Although Rule 11
permits sanctioning a lawyer for filing something with an “improper purpose,” as
Judge Guin noted, “A legal position is not sanctionable unless case law clearly
establishes that the position is frivolous.” In re O’Dell, 268 B.R. 607, 618 (N.D. Ala.
2001) (citing McKnight v. Gen. Motors Corp., 511 U.S. 659, 660 (1994)). Eleventh
Circuit case law does not “clearly establish[]” any limits on Rule 41 dismissals, and
Rule 11 does not override Eleventh Circuit precedent that Rule 41 dismissals are
“absolute” and “unconditional.” See, e.g., Adams, 863 F.3d at 1073, 1080-81
(reversing Rule 11 sanction—even after district court found attorneys had dismissed
case for an “improper purpose”—because the lawyers dismissed “in accordance with”
Rule 41); Wolters Kluwer Fin. Servs., Inc., 564 F.3d at 114-15 (same).

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              5.    Even if this Court determines that impermissible “judge
                    shopping” occurred, the appropriate remedy is
                    reassignment, not discipline.

        As Respondents explained in their Post-Hearing Brief, “[t]o the extent a

remedy is needed for a plaintiff who voluntarily dismisses under Rule 41(a)(1) and

then re-files, the remedy is reassignment.” (Case No. 2:22-MC-3977, Doc. 104 at 10)

(collecting cases). Respondents adopt that argument. This remedy was promptly and

fully applied when Judge Huffaker transferred Eknes-Tucker to this Court without

any protracted proceedings or accusing lawyers of misconduct.

II.     Ms. Eagan and Mr. Doss were truthful to and candid with the panel.

        The Order directs Ms. Eagan and Mr. Doss to show cause why they “should not

be sanctioned for misrepresenting or otherwise failing to disclose key facts” during

the panel’s inquiry. (Doc. 406 at 9).

        A.    Ms. Eagan testified truthfully and candidly about conversations
              with Walker counsel regarding judges in the Northern District.

        The panel noted perceived discrepancies between Ms. Eagan’s recollection of a

conference with Walker counsel that occurred on or about April 13, 2022, her

impressions from that call, and what some other attorneys remembered. (Final

Report of Inquiry at 24-25). Ms. Eagan, to the best of her ability, gave extensive

details about what she could recall about this conference call, and any discrepancies

are not material. The conversation was Ms. Eagan’s first interaction with Walker

counsel, and she attended only part of the call. (Aug. 4, 2022, Trans. at 32-33). When

Ms. Eagan testified about the discussion, she provided her best recollection of details,

noting that she could not pinpoint exactly what had been said:



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  JUDGE PROCTOR: All right. Tell me—so let's go back to this phone
  conversation, then, that you—first time you talked to Walker counsel.
  And your impression you gave us in the declaration is that you hung up
  from that call with the impression they desired to stay in the Middle
  District.

  MS. EAGAN: Yes, sir.

  JUDGE PROCTOR: Tell me what you can recall—everything you can
  recall about that phone call. I'm going to get your complete recollection
  of it, if I may.

  MS. EAGAN: I remember from the ACLU side, Lambda side of the call,
  my recollection is that Mr.—I don't even—I'm sorry—James—

  JUDGE PROCTOR: Mr. Esseks?

  MS. EAGAN: Esseks. Because this was the only time I ever had a
  conversation with any of them from the standpoint of an actual phone
  conversation or anything like that.

  JUDGE PROCTOR: Other than email traffic or something like that?

  MS. EAGAN: Correct. My recollection was that Mr. Esseks was the one
  from their side who was doing more of the talking, which is I think why
  I remember him from the call. My recollection or my – from that call or
  my impression was that they were still going to try to get their case
  transferred to Judge Thompson and stay in the Middle District. And I
  remember raising to them, if you do not get your case transferred to
  Judge Thompson, are y'all going to ask to stay with Chief Judge Marks,
  or are you going to accept a transfer? I recall that they didn't really have
  –-they hadn't reached a decision on that at that point.

  JUDGE PROCTOR: All right.

  MS. EAGAN: I remember expressing, myself, that, you know, we were
  happy in the Northern District, and that we were where we would—we
  planned to be and that we would like to be. I remember saying that we
  had Judge Cornelius. I recall—

  JUDGE PROCTOR: Because as of that day, you did.

  MS. EAGAN: We did. I recall saying to them that we did not know if the
  State would decline her jurisdiction, but if they did, then we would be



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  put back in the random assignment pool of the Northern District and
  that, you know, we could be assigned to any of the judges in the Northern
  District. I have a recollection, and I don't remember the exact words, but
  I do seem to recall having a brief sort of—where they were interested in
  knowing what we knew about the judges in the Northern District. And
  I recall—I believe I had some sort of brief—and I don't remember if I
  went through every judge, I don't remember if I just sort of gave an
  overall synopsis, but I do believe that I gave some viewpoints from my
  perspective as to how I thought judges might receive this type of
  controversial case.

  JUDGE PROCTOR: I take it that Judge Manasco would not have been
  discussed, then, since she had already recused.

  MS. EAGAN: I don't believe I would have.

  JUDGE PROCTOR: But would you have covered all the other judges in
  the Northern District in response to that inquiry?

  MS. EAGAN: I don't remember if I went through them one by one. I don't
  remember if I just did more—I think—I don't really remember, Judge,
  exactly what was said on that.

  JUDGE PROCTOR: So just generally, then, on this discussion of judges,
  how would that have—what were the key points of that? Was it whether
  someone would be receptive to the claim or not as receptive to the claim?
  Was it what people's different procedures were, how people handled
  preliminary matters differently or the same? Just give me your best
  recollection of the things you covered about the judges, just in terms of
  subject matter.

  MS. EAGAN: Again, I don't remember specifically what was said. But
  what my general recollection is, is that it related to how I thought judges
  –-my personal opinion on how I thought judges might receive our clients
  as well as these controversial issues that people have very strong
  personal opinions about.

  JUDGE PROCTOR: All right. And what did you use to form the basis
  for your views?

  MS. EAGAN: It was really based upon either my knowledge of the
  background of judges or my experience before them. Just a general
  knowledge of what I knew about different folks or my perceptions.




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       JUDGE PROCTOR: All right. And I guess that's really—I'm trying to
       get a little further into that analysis. How do you form your perceptions?

       MS. EAGAN: It was just based upon either my experience or my
       knowledge of different judges in the Northern District, their
       backgrounds, knowing them as people. I mean, you know, it was just a
       variety of factors. Could be their background experiences. Again, I just
       don't remember how much detail—I don't believe I went into much detail
       with them, I mean, because at that point, I didn't really know them.
       Them being the ACLU folks. But I do believe that I touched on that topic.

       JUDGE PROCTOR: All right. Again, was this in the context of their
       assessing whether to come to the Northern District of Alabama or
       whether to consent to the transfer order, or was this in terms of your
       evaluating in the Ladinsky case where the next step might be,
       depending upon Judge Cornelius's status?

       MS. EAGAN: My recollection is that they were curious or they wanted
       to know what input we could give to them about the judges in the
       Northern District as they were trying to making that decision was my
       impression.

(Aug. 4, 2022, Trans. at 36-40).

       Ms. Eagan further testified that “it was a fairly short call,” and that she did

not “remember anything else as far as topics that were discussed during that call.”

(Aug. 4, 2022, Trans. at 41-42). The panel asked Ms. Eagan no further questions

regarding this telephone call.11

       Ms. Eagan stands behind her testimony to the panel. (Eagan Supp. Dec., Doc.

495-1, at ¶ 10) (“While I do not remember everything that was said during that call




11     In the Final Report, the panel states, “Shortnacy testified that another call
took place on April 13 between at least himself, Esseks, Charles, Orr, and Eagan.”
(Final Report of Inquiry at 25). Mr. Shortnacy’s testimony, however, appears to be
referencing the April 13 video conference about which Ms. Eagan testified. Ms.
Eagan participated in only one telephone call with Walker counsel.



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or what specific words were used, I have testified to the full extent of my memory

about what I remember about that call.”). Ms. Eagan’s testimony to the panel was

honest and complete. The panel asked her what she recalled about the conversation

with Walker counsel, and she does not recall anything more than what she recounted.

      This Court has not identified a specific statement to the panel by Ms. Eagan

regarding her conversations with Walker counsel that it believes was intentionally

false. It is axiomatic, therefore, that there is no clear and convincing evidence that

Ms. Eagan was anything other than honest and candid with the panel about those

conversations. That other participants may remember the discussions differently or

had different impressions from the call does not mean that one person is not telling

the truth. This court must resolve all doubts in favor of Ms. Eagan. See, e.g., Gust,

Inc. 905 F.3d at 1327; Jones, 49 F.3d at 695; Rounseville, 13 F.3d at 633.

      B.     Ms. Eagan and Mr. Doss testified truthfully and candidly about
             whether they recall Ms. Eagan saying there was a “zero percent
             chance” of success on the motion for preliminary injunction in
             this Court.

             1.    The panel erroneously determined that Ms. Eagan’s
                   testimony was inconsistent with Ms. Terry’s testimony
                   about the chances of success.

      Both the panel and this Court have focused on a telephone conference among

Ladinsky counsel that occurred around 5:00 pm on Friday, April 15, 2022 (“the Friday

Call”). This Court has commented, “You know, when I have got a junior associate

who is telling the panel things that absolutely this case would turn on that none of

the respondents happen to mention is—it shocks the conscience.” (Mar. 19, 2024,

Hearing Trans. at 10). But Ms. Terry’s testimony, even if elevated over the testimony



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of every other witness, is not inconsistent with the testimony of Ms. Eagan and every

other participant who testified about the Friday Call.

      Ms. Terry submitted a declaration and testified twice. When she testified on

the first day of the panel’s inquiry, Ms. Terry never said that Ms. Eagan offered the

opinion that there was a “zero percent chance” that plaintiffs’ motion for preliminary

injunction would be successful in this Court. (May 20, 2022, Trans. at 101-12). She

said only that, during the Friday Call, the participants discussed “chances” of success

in this Court: “[t]here was some discussion about what we thought our chances were

with Judge Burke about winning, wining our motion …” Id. at 109.

      Ms. Terry later submitted a declaration, which included the following reference

to the Friday Call:

      We discussed the unexpected assignment of the case to Judge Burke,
      whether the reassignment followed the first-filed rule, whether we
      would remain the first-filed case and lead counsel, Judge Burke’s
      background for the case, whether he would be likely to grant our
      preliminary injunction motion, and our ability to file a voluntary
      dismissal under Rule 41 of the Federal Rules of Civil Procedure.

(Doc. 80-14 at 10) (emphasis added). As in her initial testimony, Ms. Terry did not

testify that Ms. Eagan said there was a “zero percent chance” of success in this Court.

Only during Ms. Terry’s second time testifying—which occurred after Ms. Eagan

testified and before Mr. Doss testified that day—did Ms. Terry reference “zero percent

chance.” (Aug. 4, 2022, Hearing at 179-80).

      Ms. Terry’s August 4 testimony is consistent with, but not identical to, her

prior statements. For that reason, it is not clear whether Ms. Terry quoted Ms. Eagan

or gave her interpretation of something she recalled Ms. Eagan saying. Other factors



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suggest that perhaps Ms. Terry does not have a clear memory of the Friday Call. For

example, in her declaration, Ms. Terry noted that she believes “[Ms. Eagan] and [Ms.

Vague] from Lightfoot, [Mr. Minter] from NCLR and [Ms.] Levi from GLAD” were on

the call. (Doc. 80-14 at 9). Mr. Doss, however, was another Lightfoot participant, but

Ms. Terry did not recall that. (Doc. 80-2 at ¶ 26). Meanwhile, Ms. Levi, who Ms.

Terry believed participated in the Friday Call, did not. (Doc. 80-6 at ¶¶ 18-19).

      The distinction—whether the “zero percent chance” comment was a quote or

an impression—is immaterial.       The panel never asked Ms. Eagan about this

statement, and in any event, the record is undisputed: (i) Ms. Eagan admitted that

she shared her opinions about the likelihood of success before Your Honor with co-

counsel before Ladinsky was dismissed, and (ii) no one who participated in the Friday

Call recalled that specific comment having been made, other than Ms. Terry

(assuming she was referencing a quote).

      The panel acknowledged that it “does not condemn the lawyers for fretting

about their chances of success before a particular judge,” (Final Report of Inquiry at

50), and Ms. Eagan freely told the panel that she shared her opinions regarding the

chance of success before Your Honor with her co-counsel before Ladinsky was

dismissed:

      •      “I’m sure that I likely had conversations with my co-counsel at points
      about … different judges and who I thought might view our case more
      favorably or be more receptive to our clients … and these issues than possibly
      other judges.” (Aug. 4, 2022, Trans. at 27).

      •     “Judge Burke I viewed as a conservative judge … I knew that he had
      been involved in Alabama politics and … my view of, if he had been elected,
      [was] that he is likely either socially conservative or gives the appearance of



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      being socially conservative. And with the controversial issues that were
      involved here, I had some questions and concerns about whether Judge Burke
      would relate well to our clients or also what his personal views would be on
      these issues. I did not know what they were, but that was just my impression,
      is that I had concerns about how he would receive these issues from a personal
      standpoint … I always believed that Judge Burke is going to be fair and
      impartial and try to apply the law, but how we interpret the law can be
      influenced … by the lens that we view the world in.” Id. at 49-50.

      •      “If I were ranking the draws, I would have put Judge Burke at the
      bottom of the list in the Northern District … There were other judges that we
      had some reservations about or concerns about, but Judge Burke would have
      been at or close to the bottom as far as from a standpoint of thinking through
      … what I perceived would be potentially his personal views on some of these
      issues.” Id. at 50.

      •     “I’ve always found Judge Burke to be fair. I’ve always found him to be
      impartial. But in a case of this nature, with this type of controversy, people
      have strong personal views on it, and I was concerned as to what his personal
      perspectives might be.” Id. at 78.

      Ms. Eagan also admitted to the panel that Your Honor’s assignment to

Ladinsky was “a factor” underlying the decision to voluntarily dismiss. (Aug. 4, 2022,

Trans. at 93) (“I did consider the fact that the case had been transferred to Judge

Burke and what were my viewpoints on how Judge Burke would potentially receive

these issues. That was a factor that was in my mind when we did the dismissal.”).

      Unable to find fault with Ms. Eagan expressing her opinions, the panel stated

that “when specifically asked about the [Friday Call], [Ms.] Eagan did not admit that

she had said about Judge Burke that there was a ‘zero percent chance’ they would

have of succeeding before him.” (Final Report of Inquiry at 35). If the panel made

that specific “ask,” one would expect a cite to the record, yet glaringly, there is none.

The panel did not ask Ms. Eagan whether she made that comment, what she said




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during the Friday Call, or to recount everything she remembered being said. In her

declaration filed on May 8, 2024, Ms. Eagan explains:

      While I do not remember saying “zero percent chance” during the 5:00
      Call, I do not recall the specific words or statements I made during that
      call. The 5:00 Call was a brief and hectic call that occurred late on a
      Good Friday, and I was confused about why the Ladinsky case had been
      transferred to Your Honor. I know I had concerns and likely expressed
      an opinion—consistent with what I testified in the Panel Hearing—
      about what I perceived at the time to be the likelihood of success before
      Your Honor in this exceptional case. If I said “zero percent chance” or
      words to that effect, it would have been hyperbole. In addition, I
      reviewed the hearing transcript after the sequestration order was lifted
      and saw that the decision makers on the Ladinsky team, when
      specifically pressed by the Panel, did not recall my saying “zero percent
      chance” during the 5:00 Call, which reflects that those words, if spoken,
      were not critical to the decisions we made.

(Doc. 495-1 at ¶ 7).

      The panel also did not ask Mr. Doss whether Ms. Eagan made the comment.

In fact, the panel never asked Mr. Doss what anyone said during the Friday Call. He

has no recollection of Ms. Eagan making that comment. (Doss Supp. Decl., Doc. 495-

2 at ¶ 45). Regardless, during his testimony, Mr. Doss freely acknowledged that, as

of the Friday Call, he thought Your Honor would be “resistant” to the claims asserted

in Ladinsky:

      JUDGE WATKINS: … So my question is at that point in time, in the
      emergency, in the heat of the hour, what was your assessment of the
      likelihood that Judge Burke—and I understand the team wanted to
      know what you-all thought. What was your assessment?

      MR. DOSS: At that point in time, our thought was he may be less
      receptive to the claims.

      JUDGE WATKINS: Just less? Like 49 percent or how much less?




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      MR. DOSS: We thought that he would be resistant to certain of those
      claims.

      JUDGE WATKINS: Basically, you didn't see much opportunity that he
      would rule in your favor.

      MR. DOSS: We thought it would be very difficult based on what we knew.

(Aug. 4, 2022, Trans. at 248-49) (emphasis added); see also id. at 242 (acknowledging

that Ladinsky was dismissed due to a variety of factors, including “the judge”).

      Other than Ms. Terry, every participant on the Friday Call who was

specifically asked about the “zero percent chance” comment did not recall Ms. Eagan

making it. A collection of that testimony is attached as Appendix B.

             2.    Ms. Eagan should not be sanctioned for not testifying
                   about a statement that she does not recall saying, multiple
                   witnesses do not recall her saying, and the gist of which
                   she conveyed to the panel.

      The Report does not reflect the totality of the evidence. First, the panel never

“specifically asked” Ms. Eagan about what she said during the Friday Call. (Final

Report of Inquiry at 35). Ms. Eagan’s testimony spans over 130 pages. (Aug. 4, 2022,

Trans. at 15-147). The panel did not ask her to recount what precisely was said

during the Friday Call, nor did the panel ask Ms. Eagan about any statements made

by her. Second, the Report assumes that Ms. Eagan, in fact, said there was a “zero

percent chance,” when (i) Ms. Terry may or may not have been offering an exact quote

(as opposed to an impression), (ii) no one else who participated in the Friday Call

recalled Ms. Eagan using those words, and (iii) had the panel asked Ms. Eagan about

the statement, she would have testified that she does not recall making it. Third, no

one disputes the underlying sentiment—that, during the Friday Call, Your Honor’s



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amenability to the claims asserted in Ladinsky was discussed and considered, among

other things, when the decision to voluntarily dismiss was made.12

       When courts have applied the “clear and convincing” evidence standard in

other contexts, they have demanded more than this record. For example, one person’s

testimony—unsupported by any other record evidence—is generally not clear and

convincing evidence. See, e.g., Gunn v. Sec’y, Dep’t of Corrections, No. 21-336, 2024

WL 775209, at *5 (M.D. Fla. Feb. 26, 2024) (in habeas context, general statements,

“unsupported by any other evidence,” are not “clear and convincing”). And, when

testimony is not “absolute and unequivocal” but perhaps is a “reflection of …

mistaken understanding,” there is not clear and convincing evidence of a

misrepresentation. See, e.g., Vasconcelo v. Miami Auto Max, Inc., 851 Fed. App’x 979,

984 (11th Cir. 2021) (in post-verdict proceedings).

       Layering the substantive law over the standard of proof confirms that Ms.

Eagan should not be sanctioned. For the Court’s inherent power, when “there is no

evidence of subjective bad faith in the record” and the attorney’s conduct is not “so

egregious that it could only be committed in bad faith,” then sanctions are



12     When juries are charged in Alabama, for example, they are told to “reconcile
the testimony of all witnesses to make them speak the truth, if this can be done
reasonably.” Ala. Pattern Jury Instructions—Civil 1.03 (3d ed.). In the Eleventh
Circuit, juries are similarly charged: “When considering a witness’s testimony, you
may take into account … the reasonableness of the witness’s testimony in light of all
the evidence …” Eleventh Circuit Pattern Jury Instructions—Civil 1.1 (2022).
       In the same way, Respondents submit that this Court should apply a
comparable approach. When the evidence is undisputed, as it is with this record, only
one reasonable construction of the evidence is possible: no one misrepresented or
omitted a material fact to the panel while testifying about what they remembered
during the Friday Call.

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inappropriate. Virgen v. US Coatings, Inc., No. 17-198, 2017 WL 4414162, at *5 (S.D.

Ala. Sept. 15, 2017). For Rule 11, “the court is to avoid hindsight and resolve all

doubts in favor of the [attorney],” Oliveri v. Thompson, 803 F.2d 1265, 1275 (11th Cir.

1986), and may sanction only for conduct that is “akin to contempt.” Kaplan v.

DaimlerChrysler, A.G., 331 F.3d 1251, 1255 (11th Cir. 2003)

      Applying those standards, the Court could sanction Ms. Eagan only by wrongly

piling unreasonable inference on unreasonable inference. “A reasonable inference is

one that a ‘reasonable and fair-minded [person] in the exercise of impartial judgment

might draw from the evidence.’” Toruno v. Sam's E., Inc., No. 17-21918, 2018 WL

3934653, at *4 (S.D. Fla. July 25, 2018) (quoting Daniels v. Twin Oaks Nursing Home,

692 F.2d 1321, 1326 (11th Cir. 1982)). To sanction Ms. Eagan, the Court would have

to conclude that (i) Ms. Eagan, in fact, made the “zero percent chance” comment, (ii)

Ms. Eagan recalls saying it and chose to withhold it (despite expressing to the panel

her erroneous perceptions of the likelihood of success before Your Honor and how

those perceptions factored into the decision to dismiss), and (iii) everyone else recalls

Ms. Eagan saying “zero percent chance,” yet has chosen to withhold it (despite

expressing a similar sentiment to the panel).         Those inferences, however, are

unreasonable and speculative. See, e.g., McGehee v. Fed. Express Corp., No. 16-873,

2018 WL 1408642, at *11 (N.D. Ala. Mar. 21, 2018) (at summary judgment, rejecting

a construction of the evidence that “requires the court to accept speculation upon

speculation”). Those unsupported inferences would weigh the evidence in the light

least favorable to Ms. Eagan, resolving no doubts in her favor, and drawing all




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inferences against her. Construction of the evidence in that way would not be an

exercise in “restraint and discretion,” Chambers, 501 U.S. at 43 (requiring courts to

exercise their inherent powers with “restraint and discretion”), nor would it resolve

doubts in Ms. Eagan’s favor, Oliveri, 803 F.2d at 1275.

      Ms. Eagan has no history of misrepresenting or omitting facts to any court.

She has an unblemished professional record that belies any inference that, under

these circumstances, she is being anything other than candid and forthright.

Considering the totality of the evidence and applying the pertinent legal principles,

this Court should not impose sanctions on Ms. Eagan.

      C.     Ms. Eagan and Mr. Doss testified truthfully and candidly to the
             panel about why they dismissed Ladinsky and filed Eknes-
             Tucker.

      The panel found that Ms. Eagan and Mr. Doss dismissed Ladinsky solely

because the case was assigned to this Court, reasoning that it “is the only logical

conclusion.” (Final Report of Inquiry at 42). There is simply no substantial evidence

that supports that conclusion. The panel ignored two crucial details: (i) although

subject to sequestration, every lawyer associated with Ladinsky—including Ms.

Terry and others who the panel dismissed and accused of no misconduct—identified

virtually the same set of factors that motivated the decision to voluntarily dismiss

Ladinsky and to file Eknes-Tucker in the Middle District rather than the Northern

District; and (ii) every lawyer associated with Ladinsky and Eknes-Tucker admitted

that Your Honor’s assignment to Ladinsky played a role in the decisions.




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             1.    The record is undisputed that the discussion about
                   whether to voluntarily dismiss Ladinsky was prompted by
                   the non-random and sua sponte transfer of Ladinsky to
                   this Court.

        The Friday Call followed an unexpected procedural event.        Respondents

believed that, after Walker had been transferred from the Middle District to the

Northern District, the case would be consolidated with Ladinsky before Judge Axon.

When that did not happen, available Ladinsky team members convened the Friday

Call.   The Friday Call began with participants expressing that they did not

understand why the case had been assigned directly by Judge Axon to this Court.

The transfer was contrary to Ms. Eagan’s and Mr. Doss’s experience in the Northern

District and understanding of Northern District procedure. They had not seen one

judge directly assign a case to another judge, without a motion and outside the

random case assignment process.

        The conversation shifted to whether there were any procedural options

available, such as a motion to reconsider, and the consensus was that there was no

non-prejudicial way to raise the issue procedurally. The participants discussed what

effect, if any, the assignment had on Ladinsky’s lead case status. This Court had set

Walker for a status conference on the following Monday but had not correspondingly

set Ladinsky. In the context of those discussions, the participants also discussed

opinions regarding Your Honor’s receptiveness to the claims in this case. Similar

discussions had already occurred before filing Ladinsky, as Respondents knew that

any Northern District judge could draw the case through the random assignment in

the Southern Division.



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       Given the unusual position that the Ladinsky team found itself, one

participant raised the idea of voluntarily dismissing the case. No one could think of

any reason why voluntarily dismissing the case would not be a viable and

procedurally proper option. Another participant read Federal Rule of Civil Procedure

41 to the Friday Call’s participants. By its plain terms, it appeared that Rule 41

provided an absolute and unconditional right.

       The decision was reached that Ladinsky should be voluntarily dismissed,

provided the clients agreed (which they did) and the Walker team likewise voluntarily

dismissed. Although the team agreed on the course of action—voluntary dismissal—

there was not just one reason for doing so. No member of the Ladinsky team has

testified that Ladinsky was dismissed solely because of its assignment to this Court.

Each team member’s multiple reasons were his or her own (and, for that reason, each

lawyer may have placed different emphasis on different factors).

       The panel questioned every lawyer associated with Ladinsky regarding the

reasons for dismissing the case. Despite having been sequestered, the lawyers—

including those the panel dismissed and accused of no misconduct—gave a consistent

explanation: several factors, not just one, influenced the dismissal decision.     A

collection of that testimony is attached as Appendix C. Ms. Eagan and Mr. Doss

testified consistent with the testimony of every other lawyer questioned. Ms. Eagan

testified as follows:

       MS. EAGAN: Well, I don't remember having discussion about you can
       dismiss for any reason. But here was the thing. At that point, we had --
       we had this unusual transfer. We couldn't explain how it happened and
       why it happened. And we didn't know how one of my colleagues -- I believe



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  it was Mr. Shortnacy—I remember he raised, well, can't we just—this has
  just got to be some snafu. Can't we file a motion to reconsider? And I was
  the one that said, we can't file a motion to reconsider.

  First of all, who would it be heard by? Judge Axon doesn't have our case
  anymore. Judge Burke has our case now. So we're going to file a motion
  to reconsider to Judge Burke, to reconsider a case being transferred to
  him, and ask him to transfer it back to Judge Axon? Not only is that going
  to send a potentially bad message to Judge Burke and make him think
  we prefer Judge Axon, but it could have a negative impact on our clients,
  particularly if we stayed before Judge Burke.

  So that was not an option. Sorry I started talking fast, but that really is
  kind of the tempo of the way that those conversations were going that
  day. And so we didn't have that. And then we saw—I mean, we were
  seeing our status as lead case floating away, I mean, in our minds,
  because we had Judge Burke had now set the Walker case for a hearing
  on Monday or a status conference on Monday. They already had their
  TRO in place. So that was a concern.

  We were not clear, but, I mean, under my impressions, I thought, gosh,
  our case is going up to Huntsville where we didn't have any connection to
  the case or to the Northeastern division. So that was going through my
  mind, although I wasn't a hundred percent sure where the case would go.
  But, again, this was just the various thoughts that were going through
  our brain. So we had this—we couldn't figure out what had happened. We
  didn't have a way to find out.

  We were losing our position as lead counsel or lead case in our minds. We
  might be getting shipped off to Huntsville and consolidated into
  potentially the Walker case, which was then, you know, suddenly
  stepping into the lead case. And I will say, I mean, did we also consider
  that Judge Burke was the person that it had been assigned to? Yes, that
  was in my mind, too, but that wasn't the primary driving factor that day.
  It was all of these factors combined and the fact that we were in a position
  that we—something odd had happened, and we didn't understand why,
  and we couldn't figure out how to figure it out.

  And if we had started inquiring, the last thing that I want to do is go
  before one of y'all and start questioning why a particular procedure was
  not followed and look like I'm saying, you didn't do something right. And
  so with all of those factors and all of those things, to us—and I was
  making a fast decision that day. But to us, the cleanest thing to do was




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      we had a right to dismiss under Rule 41, we could file a new case, and we
      could start over.

(Aug. 4, 2022, Trans. at 79-82).

      Similarly, Mr. Doss acknowledged that a variety of factors—including Your

Honor’s perceived receptiveness to the Ladinsky claims—contributed to his thinking

about voluntarily dismissing Ladinsky:

      MR. DOSS: Yes, Your Honor, I was [on the Friday Call]. We didn't
      understand the transfer order. It was not what we expected to happen.
      We throughout that day, knowing that the Walker case had been
      transferred to the Northern District, were expecting the State attorneys
      to actually file the motion to consolidate. We had had communications
      back and forth with those folks earlier that afternoon. And they had the
      same understanding we did, which is it would be filed—that motion
      would be filed in the first filed case, our case, decided there, the cases
      get consolidated. And so it was not how we expected it to unfold. It was,
      from our perspective, not the norm. It was a deviation from the rule.

      So it was concerning to us. And that was immediately what the topic of
      discussion was: That we didn't understand what had happened. We were
      thinking about ways of addressing it. I remember someone on the call,
      although I do not remember exactly who it was, raised the prospect of
      filing a motion to reconsider. The consensus at that point was that a
      motion to reconsider would probably not be the best vehicle to use. From
      my perspective, it's sort of like filing a motion to recuse. You may have
      good grounds for doing so, but you're always worried what message that
      will send to your decision maker. In the same way, if we had challenged
      the transfer order, our concern was, are we sending a message that we're
      dissatisfied with how it's being—to whom it's being transferred rather
      than how it's being transferred?

      So we talked through these issues. We were also concerned that the
      Walker litigation appeared to be inching ahead. I note this in my
      declaration. An important strategic goal for all of us was maintaining
      the precedence of our case, so we had a concern there that it was inching
      ahead. We didn't understand why the status conference was going
      forward. We didn't understand why we had not been included in it. We
      didn't understand, since that was a Northeastern Division case, would
      our case be heard in Huntsville as opposed to Birmingham?




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      There was a lot of uncertainty, and it was, to put it mildly, a chaotic
      afternoon. A chaotic discussion. So given those very unusual
      circumstances—we had a politically sensitive case, we had an
      appearance of a deviation from the rule of how the first filed case
      procedure would work—we took into account everything. We took into
      account the venue. We took into account the Walker litigation. We took
      into account the unusual nature of how the case was assigned. We took
      into account—I mean, everything.

      JUDGE WATKINS: When you say venue, does that include the judge?

      MR. DOSS: We took into account the judge under that very unusual
      circumstance, Your Honor. Yes, sir. And I guess to preface that, I can
      say, had the case gotten to Judge Burke through the random assignment
      procedure, it would not have been a factor. I've filed many cases as a
      plaintiff's attorney. I've removed cases as a defense attorney. The idea
      of dismissing a case because of the judge has never crossed my mind.
      But because of the way the case got to him, from our appearance, at
      least, it looked like the standard procedure had not been followed. It
      unlocked, at least in my mind, a different analysis of the situation.

(Aug. 4, 2022, Trans. at 240-43) (emphasis added).

       In determining that the only “logical conclusion” was that Your Honor’s

identity was the sole reason for the dismissal, the panel simply chose to disregard or

disbelieve the testimony of all witnesses who testified on the topic. The requirement

that this Court apply the subjective bad faith and benefit-of-the-doubt standards in

considering sanctions prevents such a conclusion here.

             2.    The record is undisputed that every lawyer associated
                   with Ladinsky considered the Court when deciding
                   whether to voluntarily dismiss Ladinsky and to file Eknes-
                   Tucker in the Middle District.

      Respondents knew venue for the new lawsuit would be proper in either the

Northern District or the Middle District. They were not aware of any requirement to

file this new lawsuit, with new plaintiffs, in the Northern District, where Ladinsky




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had been pending. They also were concerned that filing in the Northern District

would cause the new lawsuit to be non-randomly assigned to this Court due to its

arguably related nature to Ladinsky.       If that were to happen, then the exact

procedural morass that they had attempted to avoid in Ladinsky would be revisited

for Eknes-Tucker. Thus, they agreed with the team that filing Eknes-Tucker in the

Middle District—and attempting to secure a randomly assigned judge there—was the

best course of action.

      The panel questioned every sequestered lawyer about the reasons for filing

Eknes-Tucker in the Middle District. For those lawyers who did know something

about it, each testified that having a new slate of plaintiffs (and most defendants

situated in the Middle District) and securing a randomly assigned judge (as opposed

to having Eknes-Tucker automatically assigned to this Court) played a role in the

decision. Ms. Eagan and Mr. Doss testified similarly. Ms. Eagan explained her

rationale for filing Eknes-Tucker in the Middle District:

      JUDGE PROCTOR: And it was on Sunday you made the final decision,
      we're going to file in the Middle District.

      MS. EAGAN: I believe it was on that Sunday. I mean, we were strongly
      considering it on Saturday, but I believe that the final—the final
      decision to file with new plaintiffs, all new plaintiffs, in the Middle
      District was made on that Sunday.

      JUDGE PROCTOR: All right. And one of the factors that you—well, the
      concern you had, the concern you had, was that if you filed in the
      Northern District, the case would just go straight back to Judge Burke.

      MS. EAGAN: We thought there was a high chance that it would be
      reassigned to Judge Burke—or assigned. Whoever we drew in the random
      selection would transfer the case likely to Judge Burke, and we would be
      right back where we were on Friday afternoon, which is outside of the



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      random selection process, and we would be with these unanswered
      questions. And so while we considered filing in the Northern District,
      the decision was if we file in the Middle District with new plaintiffs, and
      we also added new claims, an all new lawsuit in the Middle District, we
      thought that we might be more likely to go into the random selection
      process and get a randomly selected judge.

(Aug. 4, 2022, Trans. at 108-09) (emphasis added).

      Mr. Doss held a comparable belief—that filing in the Northern District risked

having Eknes-Tucker automatically re-assigned to Your Honor and recreating the

previous procedural morass:

      JUDGE PROCTOR: Can you tell us that that was not because you didn't
      want to have Judge Burke back on this case?

      MR. DOSS: The issue there is—I know at some point on that Saturday—
      and, again, I'm not—it's just a complicated question, and I just want to
      give a little bit of background before I answer that.

      JUDGE PROCTOR: That's fine.

      MR. DOSS: At some point that Saturday, we had a discussion amongst
      team members. Our concern was if we were to file a new lawsuit in the
      Northern District, it gets randomly assigned to a judge, and the judge
      looks and sees that Judge Burke had the Ladinsky litigation and
      transfers it back to him as some sort of related action, and then we find
      ourselves right back where we started with a nonrandom assignment.

      That was part of our thought process in filing in the Middle District; that
      if we were to file in the Northern District, we may find ourselves right
      back where we started in this awkward, uncomfortable situation where
      we didn't understand why the case got to him. But the other aspect of it
      was once we had our new slate of plaintiffs that ultimately became
      Eknes-Tucker, there were a number of them who the defendants—
      which were—made venue proper in both the Middle District and the
      Northern District, to be honest, but there was a slight leaning toward
      the Middle District. So, I mean, it did have to do with getting out from
      under the procedural issue we were worried about in the Northern
      District, but it also had to do with we had a slate of plaintiffs who made
      venue proper in the Middle District.




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      JUDGE PROCTOR: Okay. That's the background. Let's get an answer
      to my question.

      MR. DOSS: So it's not that we were trying to get away from Judge
      Burke, at least from my perspective. We were not trying to get away
      from Judge Burke, we were trying to get away from being automatically
      assigned back to him on a related case basis and again finding ourselves
      in a position where we felt like we did not have a randomly assigned
      judge. And that was our issue.

      It was not Judge Burke. All along—I mean, and some background, we'd
      been working on this matter for almost two years, and very early on in
      all of this we talked about the different judges of the Northern District
      and the Middle District and receptivity and that sort of thing to these
      types of claims. We knew Judge Burke was always a possibility, yet we
      still filed in the Northern District. It was never—there was never a
      disqualifying factor for us that we could draw Judge Burke. And it goes
      back to had this been a random assignment, it would have been a
      different analysis.

(Aug. 4, 2022, Trans. at 266-68) (emphasis added).

      Sequestered and sworn testimony from other participants corroborated

Respondents’ testimony. A collection of that testimony is attached as Appendix D.

As it did with respect to the reasons for the Ladinsky dismissal, the panel rejected—

without any testimonial basis—the testimony of every single attorney who testified

about the decision to file Eknes-Tucker in the Middle District. The relevant legal

standards for imposing sanctions prevent this Court from doing the same.

             3.    There is not clear and convincing evidence that Ms. Eagan
                   and Mr. Doss testified untruthfully to the panel when the
                   overwhelming, undisputed testimony of every witness
                   corroborated their testimony.

      Not one witness testified that the sole reason for dismissing Ladinsky (or filing

Eknes-Tucker in the Middle District) was because of Your Honor. Every witness—

sequestered and under oath and many accused of no misconduct—testified that it was



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a decision that was influenced by a host of factors. If this Court gives Ms. Eagan and

Mr. Doss the benefit of the doubt and evaluates their representations without

hindsight—as it is required to do by law—there is not clear and convincing evidence

of sanctionable misrepresentations or omissions.

       Ms. Eagan’s and Mr. Doss’s concerns about the direct assignment of Ladinsky

to this Court were objectively reasonable. The panel attempts to downplay Ms.

Eagan’s and Mr. Doss’s worries, but both lawyers—Ms. Eagan having been practicing

in the Northern District since 1994 and Mr. Doss having been practicing in the

Northern District since 2009, including a clerkship in the Northern District—do not

recall seeing a case directly assigned, without a motion and outside the random

assignment process, like Ladinsky was. A review of the Northern District’s records

confirms this. For all cases filed during the one-year period before Ladinsky was

dismissed that involved a judicial reassignment, there were hundreds of

reassignments, but none of them involved a direct assignment from a first-filed case’s

judge to a second-filed case’s judge. (Doc. 495-2 at ¶ 36). Most were reassignments

of cases originally assigned to magistrate judges, and some reassignments were due

to recusals. Id. For those categories, the Clerk’s Office randomly reassigned the case

to another judge; no judge directly assigned the case to another judge. Id. For

consolidations, the Northern District’s practice described by the panel, (Final Report

of Inquiry at 49), was followed: if consolidation was deemed appropriate by the judge

assigned to the first-filed case, then the judge handling the first-filed case assigned

all later-filed cases to himself or herself. Id.




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      That sample of cases confirms Ms. Eagan’s and Mr. Doss’s belief that direct

assignments are not common. They expected Ladinsky and Walker to be consolidated

before Judge Axon, once the consent motion to consolidate was filed by the State on

April 15 in Ladinsky (as the parties agreed to do), in accordance with the Northern

District’s practice. When the normal process was not followed in this high profile and

politically sensitive case, Respondents were concerned. Whether a judge has the

power to reassign a case to another judge is beside the point, and again, Ms. Eagan

and Mr. Doss now understand that Judge Axon transferred Ladinsky to this Court

because of her two-plus-week criminal trial. What does matter is that, from Ms.

Eagan’s and Mr. Doss’s perspective on April 15, 2022, the reassignment was unusual

and unprecedented in their experience. Even the panel acknowledges that it did not

fit the typical mold.

      The Northern District has long acknowledged the process of handling related

cases through consolidation. See, e.g., Forrester v. MidFirst Bank, No. 18-1392, 2019

WL 13217066, at *2 (N.D. Ala. Feb. 8, 2019) (describing the well-known process for

reassigning related cases in the Northern District). For example, six months before

the Ladinsky dismissal, Mr. Doss defended multiple cases that were consolidated—

in the Northern District and after transfer from the Middle District to the Northern

District—before Judge Proctor, who had been assigned the first of these cases. See

Morgan, et al. v. Apple Inc., et al., Case No. 21-973, Doc. 16 (N.D. Ala. Sept. 17, 2021)

(granting motion to consolidate in first-filed case and reassigning subsequent cases

to Judge Proctor); Doc. 18 (N.D. Ala. Oct. 21, 2021) (after similar cases were




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transferred from the Middle District to the Northern District, reassigning those new

cases to Judge Proctor, as the judge assigned to the first-filed case). In contrast to

Ladinsky and Walker, Judge Proctor did not reassign the first-filed case to another

judge. There is no evidence that Ms. Eagan and Mr. Doss had anything other than a

good-faith belief that the assignment of Ladinsky to this Court was unusual in their

experience.

      The Report also ignores key evidence regarding the timing of the litigation. To

the panel, the need for emergency relief diminishes Respondents’ stated reasons for

the voluntary dismissal of Ladinsky and the filing of Eknes-Tucker. But the panel

overlooked undisputed evidence regarding this issue. As Mr. Doss explained, when

Ladinsky was dismissed, the motion for preliminary injunction was not complete, nor

was the amended complaint, which would have added new causes of action. (Doss

Decl., Doc. 80-2 at 4-5). The Ladinsky team was aiming to file those pleadings “by no

later than Tuesday, April 19, 2022.” Id. at 4. Eknes-Tucker—with new causes of

action, which had been planned to be included in Ladinsky—was filed on April 19.

Id. at 12. The motion for preliminary injunction was filed in Eknes-Tucker on the

next day. Id. Accordingly, “we were only a day or two behind schedule if the Ladinsky

litigation had continued,” as “we had aimed to file the motion for preliminary

injunction along with an amended complaint” by April 19, at the latest. Id.

      No evidence contradicts that testimony. At most, the attorneys lost one or two

days due to dismissing Ladinsky and filing Eknes-Tucker. Considering the totality of




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the evidence along with the relevant standards, there is no reason to conclude that

losing a day or two means that Ms. Eagan and Mr. Doss testified untruthfully.

      When the testimony of every sequestered witness (including those who the panel

dismissed and accused of no misconduct) about why Ladinsky was dismissed and

Eknes-Tucker was filed in the Middle District is consistent, there is no clear and

convincing evidence that they are all being dishonest. No one offered direct testimony

reflecting that any of them were not telling the truth about their subjective

motivations. The Court must assess the overall “reasonableness” of representations

to determine whether there has been a violation and may sanction only for conduct

that is “akin to contempt.” Office of Ala. Atty. Gen., No. 21-13514, 2023 WL 129438,

at *3. In the same way, for its inherent power, the Court must apply “restraint and

discretion.” Chambers, 501 U.S. at 43. When the record is undisputed, with no

evidence undermining the lawyers’ testimony, finding that sanctions are appropriate

would apply an unreasonable and speculative construction to the record.

      The evidence demonstrates there is no reason to doubt the veracity of Ms.

Eagan and Mr. Doss, let alone find clear and convincing evidence that they were

intentionally dishonest with the panel.     With the benefit of hindsight, perhaps

another lawyer would have made a different decision in the heat of the moment, but

that is not the test. Jones, 49 F.3d at 695 (“[T]he court’s inquiry focuses only on the

merits of the pleading gleaned from the facts and law known or available to the

attorney at the time of filing. The court is expected to avoid using the wisdom of

hindsight and should test the signer’s conduct by inquiring what was reasonable to




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believe at the time of the pleading, motion, or other paper was submitted.”) (emphasis

added).

                                  *     *         *     *

      For their entire careers, Ms. Eagan and Mr. Doss have been honest and ethical

officers of the courts in which they have appeared. The Court should impose no

sanctions.

                                             Respectfully Submitted,

                                             /s/ Harlan I. Prater, IV
                                             One of the Attorneys for
                                             Melody H. Eagan and Jeffrey P. Doss

                                             Dated: May 12, 2024
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                           CERTIFICATE OF SERVICE

      I certify that, on May 12, 2024, I electronically filed a copy of the foregoing with
the Clerk of Court using the CM/ECF system, which provide notice of the filing to all
counsel of record.

                                                 /s/ Harlan I. Prater, IV
                                                 OF COUNSEL




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